                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ABINGDON DIVISION

    WILLIAMS D. CARMACK,                                )
                                                        )
                   Plaintiff,                           ) Case No. 1:18-cv-31
                                                        )
    v.                                                  )
                                                        )
    COMMONWEALTH OF VIRGINIA,                           ) By: Hon. Michael F. Urbanski
    et al.,                                             ) Chief United States District Judge
                                                        )
                   Defendants.                          )

                                    MEMORANDUM OPINION

           In this employment action, the matter presently before the court is the defendants'

    motion for summary judgment, ECF          o. 63, f.tled on April 3, 2019 and brought pursuant to

    Rule 56 of the Federal Rules of Civil Procedure. On June 1, 2018, plaintiff William D. Carmack

    flied a Complaint in the Circuit Court for the County of Washington in Abingdon, Virginia,

    alleging three causes of action related to his termination on January 4, 2018, as the Chief

    Financial Officer of the Southwest Virginia Higher Education Center ("Center"). Count I

    alleged a violation of Virginia's Fraud and Abuse Whistle Blower Protection Act, Va. Code§

    2.2-3009, et   ~·   (1950) ("FAWBPA"), Count II set forth a cause of action for retaliation in

    violation of First Amendment protections afforded speech, brought pursuant to 42 U.S.C. §

    1983, and Count III alleged a state common law wrongful discharge claim (Bowman claim) -

    against three defendants: (1) the Commonwealth of Virginia, (2) the Commonwealth of

    Virginia: Southwest Virginia Higher Education Center, and (3) D avid N . Matlock, Executive

    D irector of the Center, in his individual and official capacities. ECF Nos. 1 & 2.

           On July 6, 2018, this case was removed to the United States D istrict Court for the

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   Western District of Virginia pursuant to 28 U.S.C. § 1331. ECF No. 1. The court granted the

   defendants' motion to dismiss, ECF No.8, the Complaint on November 6, 2018, but provided

    Carmack with leave to amend pursuant to the court's order. See ECF No. 31. In his Amended

    Complaint, ECF     o. 38, Carmack reasserted Counts I-III and added Count IV, asserting that

    he was retaliated against on the basis of his political affiliation in violation of the First and

    Fourteenth Amendments. Count IV was brought pursuant to 42 U.S.C. § 1983. The court

   granted the defendants' motion to dismiss, ECF No. 41, Carmack's Amended Complaint as

    to Count III and Count IV. See ECF No. 65. The only remaining claims in this case (Count I

    and Count II) are based on the same set of operative facts.

           The court held a hearing on May 16, 2019 to address this motion and other motions

    noticed by the parties. On May 22, 2019, the court granted Carmack's motion for sanctions,

    ECF No. 71, allowing him to take supplemental depositions of several witnesses, and on June

    11, 2019, the court granted in part and denied in part Carmack's related motion to strike, ECF

    No. 89, multiple defense declarations. See ECF      o. 94. The parties flied their supplemental

    briefs, ECF Nos. 100 & 102, in accordance with the court's May 22, 2019 order. On August

    6, 2019, Carmack again moved to strike, ECF No. 103, the declaration of Michael Maul, which

    the court denied. This matter is now ripe for decision. The court assumes familiarity with its

    prior memoranda opinions, ECF Nos. 31 & 65, and orders, ECF Nos. 79 & 94 in this case.

                                                   I.

           This employment case arises from the termination (or "layoff," as characterized by the

    defendants) on January 4, 2018 of plaintiff William D. Carmack from the Southwest Virginia




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   Higher Education Center. 1 The defendants assert that the elimination of Carmack's Chief

   Financial Officer ("CFO") position was driven by legitimate, non-retaliatory considerations,

   namely perceived redundancies in the responsibilities of senior administrators, coupled with a

   budget reduction mandate from then-Virginia Governor Terry McAuliffe directing the Center

   to cut its budget by five (5) percent for fiscal years 2017 and 2018. ECF No. 64, at 1. T he

   defendants further contend that the abolishment of the CFO position (along with two other

   positions) was implemented through and part of a " thorough, transparent, and meticulous"

   Workforce Transition Act, Va. Code Ann. § 2.2-3201 et ~ ("WTA") proposal formulated

   by Executive Director D avid N . Matlock over a fourteenth-month span and approved by

   multiple independent agencies, as well as the Center's Executive Committee. E CF No. 74, at

   23. The defendants assert that Matlock determined that abolishing the CFO position, along

   with two other positions, was in the "best interests" of the Center and required to make the

   agency more "effective and efficient," and that Carmack's lawsuit "seeks to upend this

   managerial prerogative." ECF Nos. 64, at 2 & 64-1, at 16 (Matlock Decl.).

            Carmack alleges that the "ever-changing," ECF No. 100, at 1, reasons proffered for

   eliminating the CFO position and terminating his employment were conjured up "post-

   discovery" and are entirely pretextual, and that the termination was in fact motivated by

   "retaliatory animus [Matlock] harbored because Carmack played by the rules and called [out]

   Matlock on his was te and abuse of state funds," ECF No. 72 at 12. See id. at 22 (alleging that

   his " firing" was retaliation for his "indicating that he would, and then following through with,


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    The defendants consistently object to the characterization of the abolishment of the CFO position as a "termination ."
   See ECF No. 74, at 2-3. The defendants state that " [plaintiff's] dogged referral to his departure as a 'termination' has no
   basis in fact, policy, law, or logic." Id. at 3. The court employs the term "termination" colloquially without endorsing any
   purported legal (or semantic) significance allegedly borne by tlus term.

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   holding Matlock's feet to the fire with respect to financial and compliance issues"); ECF No.

   100, at 9 (implying that his firing was due to his "drawing to the forefront the policy violations

   and improprieties that Matlock was engaging in at the Center"). Carmack alleges that a variety

   of procedural and substantive inconsistences in the WTA process, as well as in Matlock's

   reasons for initiating it, belie the true reason for his termination, which was to "silence (his]

   complaints of fraud, waste, and abuse," ECF No. 72, at 24. In short, Carmack avers that,

   considering all the evidence, a reasonable jury could find that Matlock's story "does not hold

   water" and is a thin, and ultimately unconvincing, disguise for unlawful retaliation. ECF No.

   100, at 1.

                                                  A.

          The Southwest Virginia Higher Education Center was established in 1991 as an

   educational institution in the Commonwealth of Virginia. The core responsibilities of the

   Center include (1) encouraging the expansion of higher education degrees, adult and

   continuing education, workforce training, and professional development through partnerships

   with public and private institutions of higher education; (2) facilitating the delivery of teacher

   training programs leading to licensure and undergraduate and graduate degrees; (3) serving as

   a resource and referral center by maintaining and disseminating information on existing

   educational programs and resources; and (4) developing specific goals for higher education in

   southwest Virginia. See Va. Code Ann. § 23.1-3125. The Center operates "approximately

   100,000 square feet of professional classrooms, large conference areas, labs, and administrative

   space," and hosts "hundreds of events annually." ECF No. 72, at 2 (citing the Center's

   website). The Center, from its inception, contracted with the University of Virginia in


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   Charlottesville, Virginia ("UVA") to administer and manage human resources issues for the

   Center. ECF No. 64-1, at 3 (Matlock Decl.); ECF No. 72-1, at 41 (Carmack Depo.). These

   services, among others provided by UVA, were memorialized in a formal five-year agreement

   in 2011. ECF No. 64-1, at 3 (Matlock Decl.). UVA discontinued providing human resources

   services to the Center on July 1, 2018, at which point these services were shifted to Virginia's

   Department of Human Resource Management.

            The Center is governed by a twenty-three-member Board of Trustees consisting of

   members of the Virginia General Assembly, the chief executive officers of local universities

   (e.g., Virginia Tech, University ofVirginia, Emory and Henry College) or their designees, and

   citizen members appointed by the Governor of Virginia who represent southwest Virginia

   public education and area business and industry. See Va. Code Ann.§ 23.1-3126. The Board

   of Trustees appoints the Executive Director, who (1) supervises and manages the Center, (2)

   prepares and submits, upon the direction and approval of the Board, all requests for

   appropriations, and (3) employs such staff as necessary to enable the Center to perform its

   duties. See Va. Code Ann. § 23.1-3128. The Executive Director's "major duties" also include

   "develop[ing] plans for long-term educational programs and financial stability," as well

   evaluating and terminating Center staff with the Board of Trustee's authorization. ECF No.

   72-30, at 94-95 (Ex. 30). 2 Within the Board of Trustees is an Executive Committee comprised

   of five members of the full Board. The Executive Committee (1) "oversees the affairs of the

   Center between Board meetings," (2) handles "sensitive issues such as personnel matter[s]



   2 The Executive Committee may exercise "all of the authority" of the Board of Trustees in m anaging the Center except
   that it may not amend, alter, or repeal the bylaws, appoint or remove any officer of the board, etc. ECF No. 72-30, at 92-
   93 (Ex. 30).

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   (where confidentiality is required and would be hard to ensure with a large group)," and "offers

   input into decisions that need a timely resolution for the efficient operation of the Center."

   ECF     o. 64-1, at 2 (Matlock Decl.); see ECF No. 74-2, at 2 (Henry D ecl.) (stating that "it is

   more appropriate for the Executive Director to bring sensitive and confidential [personnel]

   issues to the attention of the Executive Committee"). The Executive Committee also performs

   an annual evaluation of the Executive Director. Id.

                                                  B.

          David Matlock was appointed Executive Director of the Center, effective November

   2, 2015, ECF No. 64-1, at 1 (Matlock Decl.), following the retirement of Dr. Rachel Fowlkes,

   the "founding director" of the Higher Education Center concept and the original Executive

   Director of the Center. ECF No. 72-1, at 28-29 (Carmack Depo.). In 2009, the Southwest

   Virginia Higher Education Center Foundation ("Foundation") was created as a 501(c) (3) non-

   profit organization to obtain research and development grants and to support the educational

   programs and activities of the Center. ECF          o. 72-1, at 37 (Carmack Depo.). The grants,

   through which parties in southwest and southern Virginia can apply for funds, were provided

   by, among others, the Virginia "Tobacco Commission." Id. at 32-33, 37. The Foundation's

   grant and scholarship portfolio at one point exceeded eighteen (18) million dollars in funds.

   ECF No. 64-1, at 2 (Matlock Decl.). Workshare agreements between the Foundation and the

   Center allowed for the Center to be reimbursed for time its employees worked on Foundation-

   related projects and activities. ECF     o. 64-1, at 3 (Matlock Decl.); ECF No. 72-1, at 50

    (Carmack Depo.) . In 2014, Virginia's Office of the Attorney General, represented by Senior

   Assistant Attorney General ("SAAG") Elizabeth Griffin, requested that the Foundation be


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   "operationally split" and "keep separate books" from the Center for legal reasons. ECF No.

   72, at 3. The separation of Foundation and Center activities was apparently consistent with

   "best practices in state government, specifically within education agencies," ECF No. 64-48,

   at 2 (Rigdon Decl.).

                                                                 c.
            Carmack was hired by Dr. Fowlkes in 2012 as the Chief Financial Officer of the Center.

   In 2014, reportedly at the request of SAAG Griffin, Carmack also served as the Chief

   Executive Officer ("CEO") of the Foundation.3 ECF No. 64-52, at 3-4 (Carmack Depo.).

   While the percentage varied from year to year, the Foundation reimbursed the Center for

   approximately fifteen (15) to twenty-five (25) percent of Carmack's salary. ECF No. 72-1, at

   50-51 (Carmack Depo.). In addition to Foundation reimbursements, Carmack's salary included

   non-general funds (i.e., funds raised by the Center through its various fundraising initiatives

   and lease agreements) and general funds provided directly by the Commonwealth of Virginia

   to the Center. ECF No. 72-7, at 79. Carmack's duties as CFO included, inter alia, (1) securing

   tenants involved in the research, manufacture, and development of "Clean Fuel Energy"

   products and systems for the "Energy Center," 4 ECF                   o. 64-1, at 3 (Matlock Decl.); ECF No.

   72-1, at 209 (Carmack Depo.), (2) securing research and development grants to develop

   growth-oriented, investment-worthy technology companies in rural southwestern and

   southern Virginia, ECF No. 64-1, at 3 (Matlock Decl.), (3) negotiating new programs coming

   into the Center, ECF No. 72-1, at 209 (Carmack Depo.), and (4) overseeing the Center's


   3 Matlock appeared to believe that Dr. Fowlkes, rather than S.AAG Griffin, instigated the designation of Carmack as CEO
   of the Foundation. ECF o. 100-1, at 31 (Matlock 2d Depo.).
   4 Carmack asserts that the CFO position was not specifically created to develop the Energy Center and / or to obtain

   tenants. ECF o. 72-39, at 3 (Carmack Decl.).

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   financial affairs. Carmack also indicated that he "was very active in the academic world

   throughout the [s]tate in trying to recruit different programs and was very successful for laying

   the groundwork, of which Mr. Matlock reaped the fruit .... " ECF No. 72-1, at 209 (Carmack

   Depo.).

           In January 2015, Dr. Fowlkes announced to the Board of Trustees that she would be

   retiring from the Center effective on June 30, 2015. ECF No. 72-1, at 70 (Carmack Depo.). In

   the spring of 2015, a job description was listed for her position and a national search soliciting

   applications from Virginia and beyond was conducted by the Center. Id. The Center received

   roughly forty (40) applications for the Executive Director position, including applications

   from defendant David Matlock and plaintiff William Carmack. Id. at 71. Carmack served as

   Interim Executive Director while this search and selection process was underway from

   approximately July 1, 2015 to October 15, 2015. Id. at 78, 104. Carmack claims that he was

   Dr. Fowlkes' "pick" to be her successor as Executive Director, but that Matlock was selected

    (by majority vote of the Board of Trustees as procedurally required) over him due to the

   "substantial influence," ECF No. 38, at 3 (Am. Compl.), of Virginia State Senator Charles

   William Carrico. ECF No. 72-1, at 71-74, 77, 94-97, 99 (Carmack Depo.) .

                                                D.

           The defendants assert that the process which ultimately led to the elimination of

    Carmack's position began on August 26, 2016, when Matlock received a memorandum via

   email from Paul Reagan, Chief of Staff for then-Governor Terry McAuliffe, requesting that

    all agencies, "excluding Institutions of Higher Education," submit a budget reduction plan for

    fiscal year 2017. ECF No. 64-2, at 2-4 (Ex. 1); see ECF No. 64-1 (Matlock Decl.); see also


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    ECF No. 72-7, at 108-09 (Matlock Depo.). The memorandum instructed agency heads to

    "prepare savings strategies for FY 2017 equal to five (5) percent of your agency's adjusted

    legislative general fund appropriation." ECF No. 64-2 at 2 (Ex. 1). The memorandum further

    stated that "it is important that the majority of your reduction strategies emphasize recurring

    savings rather than one-time savings." Id. On September 27, 2016, Matlock received a second

    memorandum via email from the Governor's office providing additional guidance with respect

    to budget savings plans. ECF No. 64-3, at 2-4 (Ex. 2). The second memorandum indicated

    that agencies "should plan for the five percent savings required in FY 2017 to continue into

    FY 2018," and reaffirmed that "saving strategies for FY 2018 should provide ongoing savings

    in future fiscal years in order to maintain structural balance." Id. at 3. Matlock stated that it

    was this second, "reminder" memorandum that "frightened" him and "made [him] realize that

    [he] needed to look for a more long-term [budgetary] solution." ECF No. 72-7, at 108-09

    (Matlock Depo.); ECF No. 100-1, at 8, 16-17 (Matlock 2d Depo.). Matlock noted that the

    impact of the first email on his decision to commence the WTA process and eliminate the

    CFO was "very small." ECF No. 100-1, at 8 (Matlock 2d Depo.).

           Matlock asserts that upon receipt of Governor McAuliffe's budget reduction mandate,

    he asked Carmack whether it applied to the Center given that it expressly exempted

    "Institutions of Higher Education." Id. at 21. Carmack reportedly "pointed out" that the

    Center did not qualify for the exemption. Id. Matlock claims to have reached out to Adam

    Henken, as well as Michael Maul, Associate Director of the Education and Transportation

    Division, from Virginia's Department of Planning and Budget ("DPB") to further discuss the




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    applicability of the mandate to the Center. Id. at 20. 5 Matlock states that his intent during his

    call with Henken and Maul was to "plead" that the Center was exempt from the mandate as

    an institution of higher education. Id. Henken and Maul reportedly confltffied that per the

    Code of Virginia, the Center was not a qualifying institution of higher education and therefore

    must comply with the mandate. Id. at 20-21.

              Meanwhile, Carmack appears to have drafted and submitted budget savings plans on

    behalf of the Center for fiscal year 2017 on September 20, 2016, and a similar plan for fiscal

    year 2018 on November 7, 2016, as requested in the two memoranda. ECF                                o. 102-6, at 1-2

    (Maul 2d Decl.). Matlock acknowledged that he approved Carmack's fiscal year 2017 budget

    savings submission and that the 2017 submission satisfied the five (5) percent budget

    reduction "in principle," see ECF No. 100-1, at 9, 29 (Matlock 2d Depo.). Matlock, however,

    did not appear to specifically recollect reviewing or approving a similar submission for fiscal

    year 2018, id. at 18-19. Maul confirmed that neither the 2017 nor the 2018 submission

    indicated that the WTA was going to be used to layoff existing employees, and that generally

    speaking, "[o]nce a budget submission has been approved by the General Assembly, it is

    anticipated [that] an agency will adhere to that budget." ECF                     o. 102-6, at 2 (Maul2d Decl.).

             Matlock, apparently dissatisfied with the original submissions and of the opinion that

    the Center "needed to look for a more long-term solution," met with Maul in February 2017

    and specifically mentioned the budget savings plans that had already been submitted in

    response to the memoranda. Id.; see ECF No. 100-1, at 21-22 (Matlock 2d Depo.) (expressing



    5 Michael Maul described his role as advising state agencies on policy, program, legislative and budget issues, including
    developing and executing budgets, and the capital outlay budget process. ECF No. 64-7, at 1 (Maul Dec!.). Maul stated
    that he has held this position for twenty-two (22) years. Id.

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    skepticism that Carmack's submission, which proposed eliminating the marketing position,

    "would be the most strategic answer when you've got declining revenue and your center is

    struggling"); id. at 23 ("It's not unusual in the middle of a fiscal year to get a surprise where

    they'll say we want another five percent or ten percent reduction.").6 Maul stated in his second

    declaration that Matlock approached him to discuss the WTA as an alternative means of

    responding to the mandate and specifically asked if he could use the WTA even though the

    Virginia General Assembly had already approved the 2017 and 2018 submissions. ECF                                   o.

    102-6, at 2 (Maul2d Decl.); see ECF No. 64-47, at 1-2 (Maul Decl.). Maul informed Matlock

    that as Executive Director, "he had the flexibility to administer the budget reduction in the

    way that he saw fit because the General Assembly had not specifically directed how the Center

    was to implement the reductions to the budget." ECF No. 102-6, at 2 (Maul2d Decl.).

             Matlock indicated that following these preliminary inquiries, he began to research long-

    term budget savings options. ECF No. 72-7, at 86, 92 (Matlock Depo.). Matlock purportedly

    concluded that using general funds to cover the budget reductions would not be a viable long-

    term strategy because the mandate stressed recurring savings strategies for multiple fiscal years.

    ECF No. 64-1, at 4 (Matlock Decl.). Matlock further concluded that reorganization of the

    Center was the most appropriate and sustainable long-term option given what he observed to

    be significant overlap in responsibilities between senior administrators. Id. His proposed

    reorganization, ostensibly designed to expand the Center's program and to enable "significant

    savings," see ECF No. 64-1, at 15-16 (Matlock Decl.), included the elimination of several



    6 Matlock appeared to believe that the marketing position, which Carmack recommended abolishing in the original savings

    submission for fiscal year 201 7, was "vital to increase Center awareness to students" and "key to ensure the Center is
    meeting the workforce needs of the region." ECF No. 64-22, at 5 (Ex. 22); see ECF No . 72-7, at 122.

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    positions. With respect to the CPO position, Matlock stated that when he began at the Center,

    "(t]wo things I noticed about Carmack was his dependence on Business Manager, Deborah

    Hensley, and the amount of time he was spending doing work for the Foundation." ECF No.

    64-1, at 3 (Matlock Decl.). Matlock indicated that when he asked Carmack for financial data

    for the Center, Carmack would often ask Hensley to prepare the data for him.? Id. Matlock

    also claims that Carmack appeared to be spending significantly more time performing work

    for the Foundation than his workshare agreement allowed. Id.

            Matlock ultimately decided to implement a workforce reorganization usmg the

    Workforce Transition Act, Va. Code Ann. § 2.2-3201 et                    ~.     a process he claimed to be

    familiar with from his time at Virginia Highlands Community College (''VHCC"), where the

    WTA was used on multiple occasions. 8 Id. at 5. To determine whether the WTA could be used

    at the Center, Matlock contacted Christine Fields, the Vice President of Finance at the VHCC

    (and former Director of Finance and Legislative Affairs at the Center), to discuss the WTA

    process. Id. On or about October 28, 2016, Matlock also called Donna Kauffman, the UVA

    Human Resource Specialist assigned to the Center, to discuss a possible WTA plan. Id.

    Matlock claims that during this conversation, he stated that] oyce Brooks, William Carmack,

    and Douglas Viers may be potential candidates in his WTA proposal. Id. On November 4,

    2016, Matlock asked Kauffman to provide the "WTA cost" for eliminating Brooks' position.

    Id.; see ECF No. 64-4, at 2 (Ex. 3) (containing email with retirement/severance cost estimate

    for Brooks and another email indicating that the Center "will not be filling her job due to state



    7 Carmack claims that it was the other way around, in that he "frequendy answered questions from Hensley concerning
    budget and financial questions." ECF No. 72-39, at 3 (Carmack Dec!.).
    8 The VHCC shares a campus with the Center.



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    budget cuts ... [h]er job duties will be absorbed into other employee's responsibilities"). On

    November 9, 2016, Matlock received an email, ECF        o. 64-5, at 2 (Ex. 4), from Kauffman

    with the WTA cost for eliminating the positions held by Carmack and Viers. Id. Upon receipt

    of these estimates, Matlock exchanged emails, ECF No. 64-6, at 2 (Ex. 5), with Kauffman

    regarding, among other things, Carmack's eligibility for WTA retirement benefits. Id.

    Kauffman advised Matlock not to inform any of the individuals whose positions were being

    considered for elimination until further details were "fleshed out." ECF No. 64-1, at 6

    (Matlock Decl.).

           On or around January 16, 2017, Matlock had another conversation with Fields to

    review the WTA process and to get a clearer understanding of the necessary steps. Id. Fields

    explained that Matlock needed approval from the DPB before moving forward. Id. Fields

    further explained that with DPB approval, the Virginia Retirement System (''VRS") would

    likely absorb the retirement/ severance costs related to the WTA process such that they would

    not be incurred by the Center. Id. On January 26, 2017, Matlock met with Kauffman and

    Michelle Small of UVA to discuss the steps necessary to move forward with and submit a

    WTA request. Id. at 7. In an email, ECF No. 64-7, at 2 (Ex. 6), to Kauffman prior to the

    meeting, Matlock indicated that the positions of Janet Williams and Patricia Ball should also

    be considered for elimination under the WTA. Id. That same day, following the meeting with

    Kauffman and Small, Matlock received an email, ECF No. 64-8, at 2 (Ex. 7), from Kauffman

    with WTA estimates for Ball, Viers, Brooks, and Carmack. Id. Kauffman also forwarded to




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    Matlock a WTA exemption letter 9 template, ECF No. 64-9, at 2 (Ex. 8), from Deborah Rigdon

    of the Virginia's Department of Human Resource Management ("DHRM"). 10 Id.

             On February 2, 2017, Matlock met with Henken and Maul from the DPB to discuss

    his intention to move forward with his WTA plan at the Center. Id.; see ECF No. 64-10, at 2

    (Ex. 9); ECF No. 64-47, at 2-4 (Maul D ecl.). Matlock claims that Maul reviewed the WTA

    steps with Matlock and stressed the importance of seeking DPB and DHRM approval at the

    beginning of the process so that the VRS would cover the cost of implementing the WTA.

    ECF No. 64-1, at 7 (Matlock Decl.). Maul indicated that during this meeting, Matlock

    discussed eliminating the CFO position. ECF No. 64-47, at 2-4 (Maul Decl.). On February 3,

    2017, Matlock received an email, ECF No. 64-11, at 2 (Ex. 11), from Kauffman with the

    updated WTA estimates for Brooks, Viers, Williams, Ball, and Carmack. ECF No 64-1, at 7

    (Matlock Decl.). On February 15, 2017, Matlock claims to have had a lengthy conversation

    with Dr. Fowlkes, during which she purportedly agreed that the Center could be more efficient

    and that moving forward with a WTA proposal would address the ongoing savings mandate

    from Governor McAuliffe. Id.

             Following these initial email exchanges and meetings related to the WTA, Matlock

    claims to have taken "time to observe all departmental daily operations and [to] conduct a

    thorough evaluation of productivity, departmental budgets, stewardship, and program

    development and support." ECF No 64-1, at 8 (Matlock Decl.). Matlock also claims to have



    9 The purpose of the exemption letter is to exempt the Center fro m paying the costs to the VRS for any enhanced
    retirement benefits for employees who are involuntarily separated from employment as a result of budget reductions. See
    ECF o. 72-55, at 5 (Ex. 55).
    10 Rigdon is a Senior H uman Resource Management Consultant with the DHRM, which provides management consulting
    services to state agencies. ECF o. 64-48, at 1 (Rigdon D ecl.). Rigdon stated that her role within DHRM is to provide
    guidance and consulting on policy interpretation, employee relations, and human resources best practices. Id.

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    consulted with senior members of the Center's leadership team, Center partners, and members

    of the Center's Board of Trustees to discuss effectiveness, efficiency, and long-term

    sustainability. Id. Further, Matlock shared his WTA proposal plan with SAAG Griffin, who

    was assigned to the Center as lead counsel. Id. Following this observation period (March and

    April 2017), Matlock ultimately decided that the WTA proposal could not include Viers or

    Ball because he "could not sustainably shift their responsibilities to other Center employees." 11



             On May 1, 2017, Matlock asked Brooks, ECF No. 64-13, at 2 (Ex. 12), to arrange a

    conference call with Kauffman to further discuss the WTA proposal. ECF No 64-1, at 9

    (Matlock Decl.). On May 2, 2017, Matlock directed Adam Tolbert, see ECF No. 64-14 (Ex

    13), who worked as an Information Technology ("IT") specialist at the Center, to email

    Kauffman and provide her with a link to relevant portions of the Code of Virginia and state

    policy that explained the steps necessary for an agency to be exempt from bearing

    retirement/severance costs associated with workforce reductions under the WTA. ECF No

    64-1, at 10 (Matlock Decl.). On May 22, 2017, Matlock received two emails, ECF No. 64-15,

    at 2-3 (Ex. 14), from Kauffman informing him that Susan Harris, Interim UVA Human

    Resources Benefits Supervisor, would be assisting with the WTA paperwork along with the

    WTA waiver template. Id. On May 25, 2015, Matlock called Fields at VHCC and asked if she

    could share a copy of the cover letter used by the VHCC when requesting WTA approval. Id.

    Shortly thereafter, Fields sent two emails containing copies of documents used by the VHCC




    11 Carmack notes that Janet Williams stated in her deposition that Viers was asked if he would retire. E CF No. 72-3, at 50

    (\Villiams Depo.). Viers apparently stated that if he had better insurance, "he would have gone." Id.

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    during the implementation of its own WTA proposals, see ECF                            o. 64-16 (Ex. 15); ECF No.

    64-17, at 3 (Ex. 16).

             On June 30, 2017, Matlock met with the Executive Committee to conduct his annual

    review and discuss his WTA proposal. ECF No. 64-1, at 10 (Matlock Decl.) . Matlock informed

    the Executive Committee that Carmack was included in the WTA proposal and that the Center

    did not require a CFO position as it had operated without one for fifteen (15) years prior to

    Carmack's arrival. Id. Donna Henry, a member of the Executive Committee present during

    the June 30, 2017 meeting, stated that Matlock "stressed that the responsibilities of the CFO

    position overlapped significantly with the responsibilities of other, lesser-paid, employees of

    the Center" and that his reason for eliminating the three positions was to "reduce spending

    and create more room in the budget for necessary structural repairs at the Center." ECF No.

    74-2, at 2 (Henry Decl.). Matlock also apparently indicated that "he could perform the higher-

    level responsibilities of the CFO position." Id. Matlock received the imprimatur of the

    Executive Committee 12 to move forward with the implementation of the WTA proposal. Id.;

    see ECF No. 64-18, at 2 (Ex. 17) (containing meeting minutes indicating that the Executive



    I2 While the meeting itself was conducted in closed session, Henry's declaration makes clear that Matlock discussed the
    abolishment of the CFO position and advanced justifications for the abolishment which were consistent with those
    memorialized in the WI'A proposal itself and reflected in extensive email correspondence. The Executive Committee
    approved Matlock's proposal unanimously in open session, see ECF No. 64-18, at 2 (Ex. 17). These facts directly rebut
    Carmack's claim that there was no "proof' tl1at Matlock received "the Executive Committee's blessing." ECF No. 72, at
    9. In response to Carmack's claim that the Executive Committee "knew" of Carmack's "complaints," so "even if they
    were involved in 'approving' the termination, it changes nothing," ECF No. 72, at 9 n.7, the court would note that it is
    entirely unclear what "complaints" are being referred to - the OSIG complaint or pre-OSIG internal warnings and
    complaints. With respect to the former, the Executive Committee meeting during which Matlock's proposal was approved
    occurred on June 30, 2017, see ECF o. 64-18, at 2 (Ex. 17). Carmack's official Hotline complaint was not filed until July
    201 7, and there is no evidence that Matlock or any member of the Executive Committee was aware of the OSIG complaint
    until at least October 16, 2017, over three months later. Insofar as what is being referred to are the internal warnings and
    complaints, see infra, there is no evidence supporting this claim. Indeed, Exhibit 8, which is sole citation to the record
    related to this claim, see ECF o. 72, at 9 (citing ECF o. 72-8, at 2 (Ex. 8)), indicates only that Matlock informed Senator
    Carrico and Kauffman of "the existence of the Hotline complaint" after he was contacted by OSIG investigator Sadler on
    October 16, 2017. There is no mention of the sundry internal warnings and complaints discussed below.

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    Committee approved unspecified "employment actions that were discussed during closed

    session"). Matlock subsequently stayed in communication with his contacts at UVA to keep

    them apprised of the status of the proposal and provide them with documents justifying the

    personnel actions he intended to take. See ECF No. 64-20 (Ex. 19) (email dated September

    28, 2017 to Kauffman containing draft WTA proposal); ECF No 64-21 (Ex. 20) (email

    exchange dated October 23-24, 2017 with Carol Summers from UVA concerning WTA).

           On November 13, 2017, Matlock emailed the Center's WTA proposal (as reflected in

    the final exemption request), ECF     o. 64-22 (Ex. 21), to Sara Wilson, Director of DHRM,

    and Dan Timberlake, Director of DPB. ECF 64-1, at 11 (Matlock Decl.). The proposal

    included Matlock's workforce reorganization plan, justifications for the elimination of three

    positions occupied by Joyce Brooks (Program Administration Manager I, or Director of

    Operations), Janet Williams (Public Relations and Marketing Specialist II, or Conference

    Services Specialist), and William Carmack (Financial Services Manager II, or Chief Financial

    Officer), and the expected savings which would accrue from implementation of the plan. ECF

      o. 64-22 (Ex. 21), at 2-5. The proposal explained that "[d]ue to budgetary shortfalls in the

    Commonwealth, the [Center] had experienced budgetary reductions of $108,058.00 (5%) for

    2017-2018." Id. The proposal goes on to explain that these mandated reductions over two

    budget cycles, "coupled with certain organizational changes that are vital," led the Center to

    consider "where there were positions and/ or duties that either could be or needed to be

    eliminated or reassigned," and that after "thorough evaluation, and in consultation with senior

    members of the leadership team and the Executive Committee," the elimination of the




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    aforementioned positions was deemed "necessary to remain responsive to regional needs and

    required fiscal accountability." Id. at 4.

             With respect to the elimination of the CFO position, the proposal stated that "Financial

    Services Manager II [CFO] role was created in 2012 to do work that is no longer needed." Id.

    More specifically, the proposal states that the CFO position was created (1) to develop the

    Energy Center and secure tenants involved in the research, manufacture, and / or development

    of "Clean Fuel Energy," as well as (2) to secure research and development grants to develop

    early-stage, growth-oriented companies to rural southwestern and southern Virginia. Id. The

    proposal notes that because a long-term tenant was secured for the Energy Center in March

    2017, and considering the declining portfolio of research grants (the remainder of which are

    managed by the Foundation, not the Center) 13 , the CFO is no longer required to perform

    those duties. Moreover, because "the General Administration Manager I position [held by

    Hensley] oversees the majority of the business operations of the center," the Center

    "determined that the day-to-day operations can be managed by a Financial Services Manager

    I position," 14 which would enhance efficiencies. Id. The proposal states that abolishing the

    CFO position and redistributing the CFO's remaining responsibilities to a lower administrative

    position would result in net yearly savings of $154,276. Id. The reorganization plan also

    proposed the (1) creation of a part-time grant writer position (at a cost of $41 ,355) that would

    focus on securing funds for the development of educational programs and services and (2)



    13 Carmack notes that Alicia Young stated that "there is more Tobacco Commission work, and part of it is with the
    [C) enter." ECF      o. 72-2, at 20 (Young Dec!.). It is unclear whether Young is referring to the time period relevant for this
    case, i.e., during the period Matlock observed a declining portfolio of research grants, or whether she is referring to Ma rch
    2019, when her deposition was taken.
    14 Matlock's reorganization plan accounted for the promotion of Hensley, who worked for Carmack, from General

    Administration I to Financial Services Manager I.

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    filling a marketing director position which "has been frozen for the past three years." Id. at 5.

    The proposal concludes by noting that the net savings to the budget from the foregoing

    workforce actions would be $108,058, i.e., equal to the five (5) percent budget mandate. Id.

            On November 21, 2017, the DPB preliminarily approved Matlock's WTA exemption

    request after reviewing it and finding that it was an appropriate response to Governor

    McAuliffe's budget reduction mandate. ECF No. 64-47, at 2 (Maul Decl.).1 S Maul stated that

    "[b]ecause the Center had been mandated by the General Assembly and Governor of Virginia

    to enact budget reductions for fiscal years 2017 and 2018, we were satisfied that Matlock's

    WTA proposal was proper." Id. at 2. DPB Director, Dan Timberlake, provided Matlock with

    a signed letter approving the WTA exemption request if the director of DHRM also approved

    the proposal. See E CF         o. 64-47, at 12 (containing letter from Timberlake to Matlock stating

    that "[t]he positions in question meet the criteria of Item 475, paragraph M.1. of Chapter 836,

    2017 Acts of Assembly; specifically, these separations are a result of budget reductions enacted

    in the Appropriations Act."). On               ovember 22, 2017, Matlock received an email from

    Deborah Rigdon of DHRM, who replaced Kauffman in overseeing the Center's WTA

    process. Rigdon's email sought additional information about Matlock's proposal and offered

    assistance in its later implementation. ECF No. 64-23 (Ex. 22). Matlock and Rigdon spoke

    over the telephone the same day to review the proposal and the steps Matlock needed to take

    to receive the approval ofDHRM. ECF                  o. 64-1, at 12 (Matlock Decl.). On November 27,

    2017, Matlock forwarded to Rigdon the timeline for the WTA process and other




    15 The DPB's approval was conditioned on Matlock's ability to receive approval from DHRM. ECF No. 64-47, at 2 (Maul

    Decl.).

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   documentation she requested. ECF No. 64-1, at 12 (Madock Decl.); ECF No. 64-24, at 2 (Ex.

   23). Madock claims that Rigdon requested job descriptions for Carmack and Hensley and the

   minutes from the June 30, 2017 Executive Committee meeting, but at no point shared with

   him why she wanted this information other than it being part of DHRM's standard review of

   WTA proposals. ECF No. 64-1, at 12 (Madock Decl.).

          Rigdon explained that because she was aware by this point that Carmack had flied a

   formal complaint against Madock, she wanted to "make sure Madock had provided sufficient

   justification to support the abolishment of Carmack's position." ECF No. 64-48, at 2 (Rigdon

   Decl.). Rigdon explained that her "main purpose was to ensure that the WTA process

   complied with state policy and protected the rights of the individuals affected by the WTA

   plan." Id. To that end, Rigdon requested the June 30, 2017 Executive Committee meeting

   minutes and timeline of events to "confirm that the decision to abolish Carmack's position

   occurred prior to any complaint Carmack had made." Id. Rigdon also requested and compared

   Hensley's employee work profile to Carmack's profile. Id. Rigdon stated that she did not

   inform Madock that Carmack had complained about him or otherwise elaborate upon why

   she requested these documents. Id. Following her review of the requested materials, Rigdon

   concluded that "Madock was justified in eliminating the CFO position" and that this action

   "made sense in the long run." Id. at 2-3. Specifically, she agreed with Madock's conclusion

   that Hensley could absorb more of Carmack's duties, "which would create substantial savings

   because her salary was a fraction of Carmack's salary." I d. at 3. On December 8, 2017, Rigdon

    forwarded Madock edits to the WTA proposal and restructuring analysis, see ECF No. 64-25,




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    at 2-4 (Ex. 24), and on D ecember 18, 2017, forwarded severance benefit calculations for

    Carmack, Brooks, and Williams, see ECF      o. 64-26, at 2-5 (Ex. 25) .

           On December 21, 2017, Matlock received an email from SAAG Griffin that contained

   correspondence with UVA counsel regarding the WTA process. ECF No. 64-27, at 2-5 (Ex.

   26) . In this email, associate university counsel for UVA discussed the presence of a police

   officer from VHCC to provide security on the date that Brooks, Williams, and Carmack were

    officially informed of the elimination of their positions. I d. On January 3, 2017, Matlock

   emailed Rigdon, Griffin, Kauffman, and Summers final documents related to the

   implementation of the WTA proposal, including a layoff notification letter for each impacted

   employee, documents related to severance benefits, and suggested talking points during the

   layoff meetings, for their review and suggestions. ECF No. 64-28, at 2-5 (Ex. 27). That same

   day, Rigdon informed Matlock of her approval of the WTA plan and confirmed that it

   conformed with state policy and the Code of Virginia. ECF No. 64-48, at (Rigdon Decl.).

           On January 4, 2018, Matlock called Carmack into a conference room and informed

    him that his position was being eliminated. ECF No. 64-1, at 14 (l\1atlock Decl.). Matlock

    provided a letter to Carmack explaining that "in order to remain efficient and effective, and

    due to budgetary reductions and necessary restructuring decisions, your position . .. will be

    abolished at the close of business on January 19, 2018." ECF No. 64-34, at 2 (Ex. 33). Matlock

    also provided Carmack with documents, see ECF        o. 64-34 (Ex. 33), explaining the benefits

    he was entitled to under the WTA. ECF No. 64-1, at 14 (l\1atlock Decl.). Brooks and Williams

   were similarly informed that their positions were being eliminated. Brooks, Williams, and

    Carmack were all escorted out of the Center by a VHCC police officer. ECF No. 64-1, at 15


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    (Matlock Decl.). On January 19, 2018, Matlock forwarded additional documents to Carmack,

    one of which enabled him to receive preferential hiring for any position within a state agency

    that is in the same role as his former position and for which he is minimally qualified. ECF

    No. 64-1, at 15 (Ex. 35). Matlock also informed the Board ofTrustees via email, ECF No. 64-

    39, at 2 (Ex. 37), of the implementation of the WTA proposal. The email stated that "[d]ue to

    budgetary shortfalls in the Commonwealth, the [Center] has experienced budgetary reductions

    of $108,058.00 (5%) for 2016-2017 and $108,058.00 (5%) for 2017-2018." Id. The email

    further stated that in response to these mandated reductions over two budget cycles, Matlock

    concluded that "restructuring was necessary to become more responsive to the region's

    workforce, creating a greater return on investment for the Commonwealth and the citizens of

    SW Virginia." Id. at 2. On June 12, 2018, Matlock received final approval from DHRM of its

    WTA exemption request, which exempted the Center from incurring costs for any enhanced

    retirement/severance benefits under the WTA, see ECF No. 64-41 (Ex. 39).

                                                  E.

           Carmack indicated that shortly after Matlock took over as Executive Director of the

    Center in November 2015, "[he] was excluded immediately from meetings with what [he]

    call[ed] [Matlock's] disciples, and that's defined by Ms. [Kathy] Heitala, Mr. [Jeffj Webb, Mr.

    [Adam] Tolbert, and Ms. [Joyce] Brooks." ECF No. 72-1, at 120 (Carmack Depo.). Carmack

    indicated that when Matlock first started visiting the Center in October 2015, "[e]veryone went

    in his office and closed the door except me. I was not invited." Id. at 11; see also ECF No.

    72-30 ("From his first day on the job Mr. Matlock has disregarded the CFO" and other

    members of the Finance Department.). Carmack further stated " ... I felt very much on the


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    outside from, upon his arrival ... [a]nd as he continued to work there that relationship only

    grew more estranged." ECF No. 64-52, at 29 (Carmack Depo.). In November or December

    2015, Carmack asked Madock for a pay increase for temporarily filling in as Interim Executive

    Director. Madock refused, apparendy stating that he thought Carmack was already overpaid

    in comparison to other department directors. ECF No. 72-1, at 89 (Carmack Depo.).

           When asked whether he and Madock had a "positive, constructive relationship,"

    Carmack replied, "I never felt like we had a good relationship." ECF          o. 64-52, at 29

    (Carmack Depo.). In November 2015, Carmack stated that he met with Madock, and

    "reminded him that [he] operated by the rules, [he] was the kind of guy that didn't deviate

    from [the rules], and that we were very careful to operate the Center according to- it's called

    CAPPs [Commonwealth Accounting Policies and Procedures]," which set forth the

    Commonwealth's accounting and audit guidelines. ECF No. 72-1, at 112-13 (Carmack Depo.).

    In response to this statement, Madock allegedly told Carmack a story about "needling," which

    Madock explained was when a mother bird puts sharp objects pointing upwards in its nest to

    encourage young birds to leave the nest. Id. Madock allegedly stated that this "was the method

    [he] used to get people off the team that he did not want." Id. Carmack "took [this story] .. .

    as a pretty clear message that he didn't care for me being a part of his team based on the fact

    that I had been excluded to date from any conversation pertaining to the business of the

    Center or the finances of the Center." Id.

           In January 2016, Carmack stated that he and Hensley met with Madock two or three

    times to discuss the budget for the next fiscal year, but Madock appeared "very disinterested"

    in what they had to say. ECF No. 72-1, at 122 (Carmack Depo.). Madock purportedly stated


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    that he would contact Christine Fields, who oversaw the Center's finances prior to Carmack's

    tenure at the Center but who worked at the time at VHCC. Id. Carmack perceived Matlock's

    conduct as indicating either that Matlock had "no confidence" in him or "no interest" in

    anything he or Hensley had to say regarding the budget. Id. Carmack contends that although

    he tried to support Matlock as Executive Director, "I finally arrived at the idea [that] he had

    an agenda to rid [sic] my employment from the third month he was there." ECF No. 64-52,

    at 44 (Carmack Depo.).

                                                  F.

           In addition to a fraught and unconstructive working relationship, which the record

    suggests was manifest from the outset of Matlock's tenure as Executive Director, Carmack

    claims that not long after Matlock's appointment, he observed that policies and procedures

    related to hiring, accounts payable, accounts receivable, etc., were not being followed. ECF

    No. 72-1, at 121-22 (Carmack Depo.). Carmack alleges that he made numerous "internal

    warnings and complaints" to Matlock related to a variety of "policy and procedure violations,"

    ECF No. 72, at 4, and/ or "infractions," ECF No. 72-1, at 130 (Carmack Depo.). Cf. ECF No.

    72-1, at 126 (Carmack Depo.) (''We would make . .. make comments to him or reminders [to]

    him of, this need[s] to be done or signed by a certain date, to try to help him along."). These

    alleged violations included, inter alia, Matlock's: (1) submitting an invoice for payment of

    $1,250 to reimburse a middle school where Matlock's son, Jason Matlock, was the principal

    for student travel to a robotics competition at James Madison University, (2) allowing for the

    approval of overtime for a husband and wife computer team (the Tates) whom Carmack

    suspected of collecting overtime in a fraudulent manner, (3) failing to submit invoices (e.g.,


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    travel invoices) in a timely fashion, (4) hiring a personal friend, Joe Mitchell, as a maintenance

    supervisor without going through the interview process, (5) failing to account for monies

    received during various fundraisers, (6) allowing a large piece of art to go missing, and (7)

    granting Tolbert access to human resource systems and confidential employee information

    (e.g., salaries and evaluations) without proper clearance. 16 See ECF No. 38, at 4-8 (Am.

    Compl.); ECF         o. 72, at 5-7.

             Carmack explained that after consistently complaining to Matlock about what he

    characterized as suspected fraud, waste, and abuse to little effect, and with the "frequency and

    severity of Matlock's improprieties ... increasing," ECF No. 72, at 7, he decided to arrange a

    meeting with the Ombudsman at UVA. Carmack stated that although he initially thought that

    Matlock was "new" and would "figure it out," Matlock's consistent refusal to take corrective

    action led him to fear that if he failed to report the alleged violations, his own nonfeasance

    would be viewed as malfeasance. ECF                o. 65-52, at 34 (Carmack Depo.). Carmack indicated,

    however, that "[i]t wasn't until the end of [2016] that I felt like, this is severe enough that ...

    I could lose my job by not calling attention to it .... " ECF No. 64-52, at 36 (Carmack Depo.).

    On February 8, 2017, Carmack finally met with Ombudsman of UVA, Brad Holland, to

    discuss his concerns about suspected wrongdoing at the Center. ECF No. 72, at 7. Holland

    subsequently arranged a meeting between Carmack and various individuals at DHRM in

    Richmond, Virginia, including Deborah Rigdon. Carmack was ultimately advised by the acting



    16 Carmack alleges that several IT employees approached him in early 2016 and expressed their concerns about Matlock

    giving Tolbert full access to all senior level management human resource functions, which included access to their
    evaluations and salaries. ECF o . 72-1, at 124 (Carmack D epo.). Ma tlock claimed that Tolbert was merely "shadowing"
    Joyce Brooks. Id. Carmack claims that Matlock knew Brooks was retiring, and that Matlock was engaged in what he
    perceived to be pre-selection of her replacement. Id. Carmack reportedly told Matlock something to the effect of, "you
    need to follow the policies and procedures that are outlined; you can't just put someone in that job." Id .

                                                             25

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    director of DHRM that he should take his concerns to the Commonwealth's Office of State

    Inspector General ("OSIG"). Carmack attempted to file a formal complaint via Virginia's

    Fraud, Waste, and Abuse Hotline ("Hotline") in June 2017, but was asked to refile in July

    2017. ECF No. 72-1, at 133 (Carmack Depo.). Carmack also spoke with the Office of the

    Secretary of Higher Education about the matter.

            The Hotline complaint was assigned to State Hotline Manager Tim Sadler. ECF No.

    64-42 (Ex. 40). The document Carmack ultimately sent to the OSIG contained a variety of

    allegations ranging from accusations of mismanagement and bullying to pre-selection of

    employees in violation of state policy and misuse of state resources. See ECF No. 72-30, at

    10-16 (Ex. 30). In one instance, Carmack complains that "[m]orale is extremely poor," with

    Center staff "split into small groups of angry employees," resulting in the "quality of work ..

    . declin[ing] daily." Id. at 14. Carmack stated that his intent in filing the complaint was "to

    bring the issue of poor leadership and lack of integrity demonstrated from Mr. Matlock to the

    attention of the Commonwealth of Virginia" and warned that "[w]ithout intervention, the

    integrity and success of the [Center] will continue to lurch even further out of control." Id. at

    16. The complaint, as supplemented in a letter with supporting documentation sent to OSIG

    investigator Shaun Cowardin on July 31,2017, contained sixteen (16) items, see ECF No. 72-

    30, at 10-16, only six (6) of · which the OSIG ultimately determined warranted further

    investigation by the OSIG. See ECF              o. 72-1, at 137; ECF No. 66-44; ECF No. 64-49, at 1

    (Sadler Decl.).17




    17 Cowardin explained to Carmack that the remaining allegations needed to be addressed by DHRM and that the OSIG

    would address only those allegations that pertained to fra ud and a bu se.~ ECF No. 72-1, at 137 (Carmack Depo.).

                                                           26

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           The six (6) allegations the OSIG investigated are described below as they were

    characterized in the OSIG's report (1) Tolbert, an IT professional at the Center, has

    inappropriate and unnecessary access to human resource systems; (2) two wage employees

    [the Tates] waste state funds performing programming and maintenance for a system that

    handles scholarships and loan funds; (3) Mr. Matlock inappropriately authorized grant funding

    for a robotics program at a school where his son was the principal, but not at other regional

    schools; (4) Matlock does not submit travel reimbursement requests in a timely manner; (5)

    Matlock does not record his time at work in the Center's time clock system as required by

    policy; and (6) Matlock approved sole sourcing a purchase after the purchase was made. ECF

    No. 64-44, at 1-6 (Ex. 42). Carmack informed Cowardin that the complaint need not remain

    anonymous because Matlock would know who made the complaint given that Carmack had

    been complaining to Matlock directly about these same issues. ECF No. 72-27, at 1 (Ex. 27).

    The OSIG agreed, as a courtesy, to notify Carmack before OSIG investigators spoke to

    Matlock. ECF No. 72-29, at 1 (Carmack Decl.).

            On October 16, 2017, Sadler called Matlock and explained that someone had flied a

    Hotline complaint against him and that the Hotline provides a confidential method for state

    employees to report suspected fraud, waste, or abuse in state agencies. ECF No. 64-1, at 17

    (Matlock Decl.). Sadler did not identify Carmack as the complainant. ECF No. 64-49, at 2

    (Sadler Decl.). Matlock informed Sadler that he had initiated a process under the WTA "due

    to mandatory budget cuts," id. See ECF No. 64-1, at 17 (Matlock Decl.). Matlock stated that

    certain staff, including Carmack, would be laid off as part of a reorganization intended to make

    the Center more efficient. ECF No. 64-49, at 2 (Sadler Decl.). Matlock then reviewed the


                                                  27

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    steps he had taken during the WTA proposal and the timing of each step. ECF No. 64-1, at

    17 (Matlock Decl.); ECF      o. 64-49, at 2 (Sadler Decl.). Sadler reportedly told Matlock that

    the WTA process could continue if Matlock had documentation showing that he began the

    process prior to his knowledge of the anonymous caller's complaint. ECF No. 64-1, at 17

    (Matlock Decl.). Sadler did not include Matlock's WTA process as part of his investigation.

    ECF No. 64-49, at 2 (Sadler Decl.).

           Shortly after the conversation with Sadler on October 16, 2017, Carmack stated that

    Matlock called Heitala, Webb, Brooks, and Tolbert into his office and "slammed his door."

    ECF No. 72-39, at 1 (Carmack Decl.); see ECF No. 72-7, at 169 (Matlock Depo.) (indicating

    that Matlock "had suspicions the day that the inspector called [him]" that Carmack was the

    complainant). On November 8, 2017, Matlock received an email from Sadler stating that he

    had completed his investigation. ECF No. 64-63, at 2 (Ex. 41). The OSIG review covered a

    period from January 2016 to September 2017. The OSIG's report, which was sent to the

    Commonwealth's Secretary of Education on November 17, 2017, contained "Findings of

    Fact" as to each of the six (6) allegations noted above. The OSIG found allegations (2), (3),

    and (5) "unsubstantiated," allegations (1) and (4) "partially substantiated," and allegation (6)

    "substantiated." ECF No. 64-44, at 1-6 (Ex. 42) .

           The OSI G reached the following conclusions and recommended the following

    corrective actions with respect to allegations (1), (4) and (6). Vis-a-vis allegation (1), the OSIG

    reviewed Tolbert's position description and found that it did not identify any need for access

    to human resources systems. ECF No. 64-44, at 3 (Ex. 42). The OSIG recommended that if

    Tolbert was to continue to have access to these systems, his position description should be


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    updated to reflect those responsibilities.18 Id. at 3. With respect to allegation (4), the OSIG

    found that Matlock submitted travel reimbursements late and recommended he consider

    having administrative staff prepare his reimbursement requests for his signature within thirty

    (30) working days after his travel rather than preparing the requests himself. Id. at 4. Lastly, as

    to allegation (6), while the OSIG concluded that although Matlock's sole source justification

    "makes sense based on the service performed," Matlock "should ensure that future sole source

    justifications are approved prior to service performance." Id. at 6. The OSIG requested a

    response to its recommendations from the Commonwealth's Secretary of Education within

    thirty (30) days. Id.

                                                                G.

             In addition to filing a formal complaint with the OSIG in July 2017, on December 7,

    2017, Carmack wrote a letter to the Center's Board of Trustees stating that he believed the

    "Center has been failing to effectively and properly achieve our mission as we have done in

    the past . . . ." ECF No. 72-18, at 1 (Ex. 18); ECF No. 72-1, at 224-25 (Carmack Depo.). The

    letter never refers to Matlock by name or specifically criticizes any of his conduct, but does

    request that the Center enlist a third-party mediator "to correct deficiencies that are preventing

    our Center from fully serving our important mission in this community." ECF No. 72-18, at

    1-2 (Ex. 18). Carmack explained that the mediator should interview employees and report back

    to the Board "so that some constructive way could be devised for [Matlock] to be successful




    I8 Madock told the OSIG that Tolbert had system access to certain human resources records "to learn the system and
    serve as backup when needed." ECF No. 66-44, at 2. Brooks confirmed that she trained Tolbert "in case I ever had to be
    out for any reason," such as vacation. ECF No. 100-8, at 5 (Brooks Depo.). Brooks stated that Hensley served as prior
    backup for a few years, "but then she kind of got a lot more duties on her." ld,_; see ECF No. 74-3, at 3-4, 11 -12 (Tolbert
    Decl.) (indicating that Tolbert completed the training required for him to have access to human resources systems)

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    in the job." ECF    o. 72-1, at 226 (Carmack Depo.). Carmack also requested that the Board

    of Trustees appoint a "six-member, bipartisan" committee to work with the mediators. ECF

      o. 72-18, at 2 (Ex. 18). On December 14, 2017, Carmack alleges that Board member Steve

    Cochran tried to persuade the Board to go into Executive Session to discuss Carmack's

    December 7, 2017 letter, but was unsuccessful." ECF No. 72-1, at 226-28 (Carmack Depo.).

    Carmack also alleges that after becoming aware of his OSIG complaint in October 2017,

    Matlock stopped meeting with him on a weekly basis and engaged in other conduct Carmack

    claims evinced retaliatory animus. ECF     o. 72-39, at 2 (Carmack Decl.); see ECF No. 65, at

    15-16 (summarizing alleged retaliatory acts).

           On January 4, 2018, Carmack was notified that his position was being abolished.

    Carmack notes that the day of his termination, Matlock "detained [the staffj in [a] room for

    an hour and a half to two hours," ECF No. 72-2, at 22 (Young Depo.), and escorted him off

    the premises with an "armed guard," ECF No. 72, at 9. Carmack also noted that following his

    termination, "Board members reached out in outrage." See, e.g., ECF No. 72-37, at 1 (Ex. 37)

    (email to Matlock from Joshua Ely stating, "is there any other area that could be cut without

    having folks lose their jobs .... Is this our absolutely only way forward"); id. at 4 (email to

    Matlock from Cheryl Carrico stating "I do have concerns. Each meeting I have attended and

    at points in-between you report the finances as being good ... . You also reported being

    understaffed by positions at the last two board meetings. The 108,058 mentioned below is

    less than the total salaries will be - likely much less when benefits are included so the number

    of people and positions is odd to me."). On June 1, 2018, Carmack ftled a Complaint in the

    Circuit Court for the County of Washington in Abingdon, Virginia. On July 6, 2018, this case


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    was removed to the United States District Court for the Western District of Virginia pursuant

    to 28 U.S.C. § 1331.

                                                   H.

           In their motion for summary judgment, the defendants assert that the critical deficiency

    with Carmack's claims in Count I and Count II is that "he cannot dispute that his layoff was

    the result of a year-long analysis into how the Center should be reorganized to meet a budget

    reduction mandated by Governor McAuliffe." ECF No. 64, at 18. They further contend that

    Matlock (1) undertook a "laborious and document-intensive process to establish the best

    course of action for streamlining the Center to create a more efficient and effective state

    agency," id. at 23, (2) consulted with various individuals regarding the WTA process, and (3)

    "sought the approval of multiple independent agencies to ratify the WTA proposal." Id. This

    "thorough process," according to the defendants, when coupled with a "legitimate business

    justification" for eliminating the CFO position approved by the Center's Executive

    Committee, "inescapably surmounts any inference of .. . speech-based retaliatory animus." Id.

    In short, the defendants contend that a dispassionate review of the record belies any

    suggestion that Matlock was influenced by retaliatory animus and reveals that there is no

    genuine issue of material fact for a jury to decide.

                                                   II.

           Pursuant to Federal Rule of Civil Procedure 56(a), the court must "grant summary

    judgment if the movant shows that there is no genuine dispute as to any material fact and the

    movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a); Celotex Corp. v.

    Catrett, 477 U.S. 317, 322 (1986); Glynn v. EDO Corp., 710 F.3d 209, 213 (4th Cir. 2013).


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    When making this determination, the court should consider "the pleadings, depositions,

    answers to interrogatories, and admissions on file, together with .. . [any] affidavits" flied by

    the parties. Celotex, 477 U.S. at 322. Whether a fact is material depends on the relevant

    substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) . "Only disputes

    over facts that might affect the outcome of the suit under the governing law will properly

    preclude the entry of summary judgment. Factual disputes that are irrelevant or unnecessary

    will not be counted." Id. (citation omitted) . The moving party bears the initial burden of

    demonstrating the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. If that

    burden has been met, the non-moving party must then come forward and establish the specific

    material facts in dispute to survive summary judgment. Matsushita Elec. Indus. Co. v. Zenith

    Radio Corp., 475 U.S. 574, 586-87 (1986).

           In determining whether a genuine issue of material fact exists, the court views the facts

    and draws all reasonable inferences in the light most favorable to the non-moving party.

    Glynn, 710 F.3d at 213 (citing Bonds v. Leavitt, 629 F.3d 369, 380 (4th Cir. 2011)). Indeed,

    "[i]t is an 'axiom that in ruling on a motion for summary judgment, the evidence of the

    nonmovant is to be believed, and all justifiable inferences are to be drawn in [her] favor."'

    McAirlaids, Inc. v. Kimberly-Clark Corp., 756 F.3d 307,309 (4th Cir. 2014) (internal alteration

    omitted) (citing Tolan v. Cotton, 572 U.S. 650, 651 (2014) (per curiam)) . Moreover,

    "[c]redibility determinations, the weighing of the evidence, and the drawing of legitimate

    inferences from the facts are jury functions, not those of a judge .. . ."Anderson, 477 U.S. at

    255. However, the non-moving party "must set forth specific facts that go beyond the 'mere

    existence of a scintilla of evidence."' Glynn, 710 F.3d at 213 (quoting Anderson, 477 U.S. at


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    252). Instead, the non-moving party must show that "there is sufficient evidence favoring the

    nonmoving party for a jury to return a verdict for that party." Res. Bankshares Corp. v. St.

    Paul Mercury Ins. Co., 407 F.3d 631, 635 (4th Cir. 2005) (quoting Anderson, 477 U.S. at 2495).

    "In other words, to grant summary judgment the [c]ourt must determine that no reasonable

    jury could find for the nonmoving party on the evidence before it." Moss v. Parks Corp., 985

    F.2d 736, 738 (4th Cir. 1993) (citing Perini Corp. v. Perini Const., Inc., 915 F.2d 121, 124 (4th

    Cir. 1990)).

                                                   III.

            In Count I, Carmack asserts that he was terminated in violation of Virginia's Fraud and

    Abuse Whistle Blower Protection Act ("FAWBPA"), Va. Code. Ann. § 2.2-3009, et                ~


     (19 50), after reporting multiple instances of alleged wrongdoing and financial malfeasance at

    the Center. The FAWBPA provides that it is the "policy of the Commonwealth that .. .

    employees of governmental agencies be freely able to report instances of wrongdoing or abuse

    committed by governmental agencies or independent contractors of governmental agencies."

    Va. Code Ann. § 2.2-3009. In particular, "[n]o employer may discharge, threaten, or otherwise

     discriminate or retaliate against a whistle blower whether acting on his own or through a

     person acting on his behalf or under his direction." Id. at§ 2.2-3011(A). In order to qualify as

    a whistle blower, the employee must make a "good faith report" of "wrongdoing or abuse" to

    "one of the employee's superiors, an agent of the employer, or an appropriate authority." Id.

    at § 2.2-3010(B).

            The FA WBP A defines a "good faith report" as one "made without malice" and about

     conduct that the employee "has reasonable cause to believe is true." Id. at§ 2.2-3010. In other


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    words, to be protected under the FAWBP A, an employee who discloses information about

    suspected wrongdoing or abuse "shall do so in good faith and upon a reasonable belief that

    the information is accurate." Id. at § 2.2-3010(B). "Wrongdoing" is defined as a violation,

    "which is not of a merely technical or minimal nature, of a federal or state law or regulation,

    local ordinance, or a formally adopted code of conduct or ethics of a professional organization

    designed to protect the interests of the public or employee." Id. at § 2.2-3010. The statute

    defines "abuse" as "an employer's or employee's conduct or omissions that result in a

    substantial misuse, destruction, waste, or loss of funds or resources belonging to or derived

    from federal, state, or local government sources." Id.

           The FAWBP A provides two ways in which an employee who has been terminated in

    a retaliatory and/ or statutorily proscribed manner may seek redress. Under § 2.2-3012, a

    whistle blower covered by the state grievance procedure, Va. Code Ann. § 2.2-3000 et ~' or

    a local grievance procedure established under V a. Code Ann. § 15.2-1506, may initiate a

    grievance alleging retaliation and requesting relief through those procedures. Under§ 2.2-3011,

    a whistle blower may also, as was done here, "bring a civil action for violation of this section

    in the circuit court of the jurisdiction where the whistle blower is employed" without

    exhausting administrative remedies. See Slack v. Wash. Metro. Area Transit Auth., 325 F.

    Supp. 3d 146, 157 (D.D.C. 2018) (discussing whistleblower protections laws in Maryland and

    Virginia). The court, if it finds that a violation was "willfully and knowingly" made, may order

    appropriate remedies, including (1) reinstatement to the same position, or if the position is

    filled, to an equivalent position; (2) back pay; (3) full reinstatement of fringe benefits and

    seniority rights; or (4) any combination of these remedies. Va. Code§ 2.2-3011(D). The court


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    may also impose upon the employer, "whether a writ of mandamus or injunctive relief is

    awarded or not, a civil penalty of not less than $500 nor more than $2,500, which amount shall

    be paid into the Fraud and Abuse Whistle Blower Reward Fund." Id.

                                                       A.

           The central issue in dispute between the parties as to Count I and Count II relates to

    causation. In order to examine the causation element of Carmack's claims in Count I (and

    Count II), the court must fust determine the extent of his protected activity. See Supinger v.

    Virginia, 167 F. Supp. 3d 795,819-20 (W.D. Va. 2016) (analyzing each complaint to determine

    whether it alleged wrongdoing or abuse within the meaning of the statute). This was no easy

    task. The defendants are correct that hitherto, this litigation has centered exclusively on the

    June/July 2017 external complaint to the OSIG as the locus of Carmack's Count I and Count

    II claims, and that for the fust time in this litigation, Carmack contends that his sundry

    "internal warnings and complaints" to Matlock, all of which predate his external complaint to

    the OSIG and occurred sporadically over the course of several years, constitute statutorily

    protected activity. See ECF No. 72, at 12 n.14. The court would note that Carmack makes this

    substantial pivot in a single footnote, and merely by recapitulating the relevant statutory

    language defining "[w]histle blower." Id. In its review of the pleadings, and to the extent the

    court was able to divine which of the bulle ted items in Carmack's opposition brief were being

    advanced as protected activity under the FAWBP A, they are as follows:

              1.   N ovember 2015: Carmack reminded Matlock that he would not
                   deviate from Commonwealth Accounting Policy and Procedures,
                   which Matlock responded to with the "needling story";
              2.   D ecember 2015 : Carmack complained to Matlock that he
                   violated state policy by pre-selecting Tolbert;


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                3.    D ecember 2016: Carmack complained to Matlock about
                      suspected fraud and abuse concerning the payment of overtime
                      to the Tates;19
                4.    January 2016: "Matlock's fraud, waste, and abuse continues to
                      grow, and Carmack's complaints continue [.]"
                 5.   September 2016: Carmack met with Matlock to "caution" him
                      about pre-selecting Joe Mitchell to be maintenance supervisor
                      without being interviewed by a selection committee;
                 6.   February 2017: Carmack complained to the Ombudsman at the
                      University of Virginia; and
                7.    June/July 2017: Carmack filed his OSIG complaint.

    See ECF No. 72, at 6, 13-14; ECF No. 72-30, at 10 (Ex. 30). The court would note that no

    attempt was made to explain why the antecedent "internal warnings and complaints" (Items

    1-6), which are presented in bullet form, vaguely described, and intermixed in Carmack's

    opposition brief with plainly unprotected conduct, constitute statutorily protected

    whistle blowing under the FAWBP A. Nor does Carmack cite any authority whatsoever,

    persuasive or otherwise, justifying the court's treating this conduct as protected activity.

    Indeed, it is simply assumed that any warning or complaint, no matter how informal or

    picayune, is cognizable and qualifies for protection. The court, in the interest of brevity, will

    assume, without deciding, that the aforementioned conduct (Items 1-7) qualifies as protected

    activity under the FAWBP A. 20 The court will also assume, arguendo, that Carmack's "internal



    19 There was some confusion as to when this alleged complaint was made to Webb and Matlock given several typos in
    various briefs and declarations which became evident during the court's hearing on May 16,2019. Carmack testified during
    this hearing that his complaint about the Tates was made to Webb and Matlock in December of 2016, not 2015. Matlock
    allegedly responded by telling Carmack that the Tates were no longer to report to him and that he was not to approve
    their timesheets. See ECF No. 72-39, at 1 (Carm ack Dec!.).
    20 The court will, however, make several observations for the sake of the record. Carmack's November 2015 statement to

    Matlock (Item 1) does not allege "wrongdoing or abuse," and therefore does not qualify as a good faith report. It is also
    questionable whether Carmack's complaints about the pre-selection of Tolbert and Mitchell (Items 2 & 5) concern
    violations that are more than "merely technical or minimal in nature." See Va. Code § 2.2-3010. \.Vhat is more, as regards
    the complaint about the pre-selection of Tolbert (Item 2) in December 2015, it was not until October 2017, after Matlock
    learned of the OSIG complaint, that Matlock is alleged to have begun behaving in an overtly retaliatory, as opposed to
    merely disagreeable, manner. See ECF No. 72, at 8, 12-13. This twenty-two (22) month gap is simply too long to establish
    a prima facie showing of causation. See ECF No. 31, at 16-17 (collecting cases). With respect to the pre-selection of
    Mitchell (Item 5), Carmack notes that he merely "drew to the attention of Matlock" the fact that Mitchell needed to be

                                                               36
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    complaints and warnings" (Items 1-5) to Matlock qualify as complaints made to "one of

    [Carmack's] superiors." 21 See§ 2.2-3010(B).22

                                                                        B.

             The guidance on the proper causation standard to apply in the FAWBP A context is

    limited. The Fourth Circuit has held that the causation requirement inherent in retaliation

    claims can be proven by either the (1) submission of direct evidence of retaliatory animus

    under "ordinary principles of proof," Burns v. AAF-McQuay, Inc., 96 F.3d 728, 731 (4th Cir.

    1996), cert. denied, 520 U.S. 1116 (1997), and / or, where such evidence is unavailable or

    attenuated, (2) through the burden-shifting "pretext" framework posited in McDonnell

    Douglas Corp. v. Green, 411 U.S. 792 (1973). See Foster v. Univ. of Md.-E. Shore, 787 F.3d



    interviewed by a selection committee. ECF No. 72, at 6; cf. ECF No. 72-30, at 10 ("I met with Mr. Matlock to caution
    him about 'pre-selecting' employees."). It is questionable whether statements of this sort qualify as a "report" of
    "wrongdoing or abuse." There was also some mention by plaintiffs counsel at the May 16, 2019 hearing of " funds
    disappearing .. . fall[ing] into the abuse category." ECF No. 95, at 44. This allegation was simply too vaguely described
    for the court to make anything of it. Likewise, Carmack's January 2016 complaint (Item 4), for which no specific details
    were provided, is too vague and substantively non-specific to constitute protected activity for purposes of his retaliation
    claim. See Supinger, 167 F. Supp. 3d at 819-20 (dismissing FAWBPA claim based on Hotline complaint alleging receipt
    of a gift in violation of state policy where the nature of the gift and its value were not specified) . Insofar as Carmack's
    meeting with Holland (Ombudsman of UVA) in February 2017 (Item 6) involved discussion of the full panoply of
    allegations ultimately memorialized in Carmack's June/ July 201 7 OSIG complaint, that meeting would likely qualify as a
    report of"wrongdoing or abuse" to "an agent of the employer, or an appropriate authority." I d. at§ 2.2-301O(B). However,
    because there is no evidence that Matlock was aware of this meeting prior to Carmack's termination on January 4, 2018,
    and because proof of the decision-maker's knowledge is an essential condition in a retaliation claim, accord Jones v. HCA,
    16 F. Supp.3d 622, 635 (E.D. Va. 2014), this protected activity cannot support Count I or Coun t II. Lastly, as to Carmack's
    OSIG complaint in June / July 2017 (Item 7), see ECF No. 72-30, at 9-16, given the nature the allegations contained therein
    (taken as a whole), such a complaint would qualify as a "report of conduct defined ... as wrongdoing or abuse" made to
    an "appropriate authority." See Va. Code Ann. § 2.2-3010; see also ECF o. 31, at 12-13.
    21 Matlock is specifically identified by the defendants in their corrected responses to plaintiffs first set of interrogatories

    as Carmack's supervisor from November 2, 2015 to January 21,2018.
    22 The prima facie case for retaliatory discharge claims generally requires a plaintiff to establish the following three elements

    by a preponderance of the evidence: (1) that he engaged in a protected ac tivity; (2) that he suffered an adverse employment
    action; and (3) that a causal connection existed between the protected activity and the adverse action. See. e.g., Biggs v.
    E dgecombe Ct;y. Pub. Sch. Bd. ofEduc., o. 4:16-CV-271-D, 2018 WL 4471742, at *9 (E.D.N.C. Sept. 18, 2018) (holding
    that to state a claim under North Carolina's Whistleblower Act, plaintiff must allege the same three elements above);
    United States ex rei. Cody v. Mantech Int'l Corp., 207 F. Supp. 3d 610, 621 (E.D. Va. 2016) (" [I]n order to establish a
    prima facie case of unlawful retaliation, a whistleblower plaintiff must establish that: (1) he engaged in 'protected activity';
    (2) his employer knew or was reasonably on notice that he was engaged in protected activity; and (3) his employer took
    adverse action against him as a result of his protected activity."); Julie Easterbrooks v. Am. Red Cross, No. 2:17CV98,
    2017 WL 3015809, at *2-3 (E.D. Va. July 14, 2017) (similar).

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    243, 249 (4th Cir. 2015); see also Guessous v. Fairview Prop. Inv., LLC, 828 F.3d 208, 216

    (4th Cir. 2016) (discussing the three steps of the McDonnell Douglas framework). Stated

    somewhat differently, a plaintiff may proceed by showing directly that he was ftted in

    retaliation for protected activity, or by proving that any non-retaliatory justification for the

    termination was pretextual. Netter v. Barnes, 908 F.3d 932, 938 (4th Cir. 2018) .

           While no federal or state court in Virginia has directly held that the McDonnell Douglas

    burden-shifting scheme applies to FAWBP A cases, courts routinely apply this framework in

    adjudicating claims brought under similar state and federal whistleblower statutes. See, e.g.,

    Barrick v. PNGI Charles Town Gaming, LLC,            o. 3:17-CV-91, 2019 WL 508068, at *5

    (N.D.W.Va. Feb. 8, 2019) (applying the McDonnell Douglas framework in assessing claim

    brought under the whistleblower protection provision of the Bank Secrecy Act); Nifong v.

    SOC, LLC, 234 F. Supp. 3d 739, 750-51 (E.D. Va. 2017) (applying McDonnell Douglas

    framework where plaintiff alleged retaliatory discharge for whistleblowing in violation of the

    False Claims Act); see also Murray v. Kindred Nursing Centers W. LLC, 789 F.3d 20, 25 (1st

    Cir. 2015) (analyzing a claim brought under Maine's Whistleblowers Protection Act using the

    McDonnell Douglas burden-shifting framework); Hilt v. St. Jude Med. S.C., Inc., 687 F.3d

    375, 378 (8th Cir. 2012) (same as to Minnesota's Whistleblower Act); McCormick v. D.C., 899

    F. Supp. 2d 59, 70 (D.D.C. 2012), affd, 752 F.3d 980 (D.C. Cir. 2014) (same as to D.C.'s

    Whistleblower Statute); Davis v. Durham Mental Health Developmental Disabilities

    Substance Abuse Area Auth., 320 F. Supp. 2d 378, 408 (M.D. .C. 2004) (same as to North

    Carolina's Whistleblower Act); Smith v. Gentiva Health Servs. (USA) Inc., 296 F. Supp. 2d

    758, 762 (E.D. Mich. 2003) (same as to Michigan's Whistleblowers' Protection Act); Shepard


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    v. City of Portland, 829 F. Supp. 2d 940, 954 (D. Or. 2011) (holding the McDonnell Douglas

    burden-shifting framework, although a federal procedural device, applies to employment

    retaliation claims brought under state law where the court is exercising supplemental

    jurisdiction).

             Given the amenability of the FAWBP A to the application of the McDonnell Douglas

    framework, the regularity with which courts apply this framework in assessing the causation

    element in cases involving state whistle blower statutes and/ or provisions, and finding no

    reason to depart from this approach, the court will apply this framework in the present

    matter. 23

                                                                   D.

             Under the McDonnell Douglas framework, once a plaintiff shows a prima facie case,

    i.e., establishes the three elements described above, a presumption of unlawful retaliation

    arises, and the burden of production shifts to the employer to clearly articulate and produce

    evidence of a legitimate, non-retaliatory reason for its adverse employment action. Hoyle v.

    Freightliner, LLC, 650 F.3d 321,336 (4th Cir. 2011); see Reeves v. Sanderson Plumbing Prods.,

    Inc., 530 U.S. 133, 142 (2000); Hurst v. District of Columbia, 681 F. App'x 186, 189-90 (4th

    Cir. 2017) (per curiam). If the employer carries this burden of production, the presumption

    raised by the prima facie case is rebutted, and "the burden shifts back to the plaintiff to rebut

    the employer's evidence by demonstrating that the employer's purported nonretaliatory

    reasons 'were not its true reasons, but were a pretext for [retaliation]."' Hill v. Lockheed Martin




    23 either party explicidy analyzes Count I or Count II under the McDonnell Douglas framework in their respective briefs.
    Nevertheless, it is clear that both parties assume this proof scheme applies.

                                                              39
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    Logistics Mgmt., Inc., 354 F.3d 277, 285 (4th Cir. 2004) (en bane)); see also Merritt v. Old

    Dominion Freight, 601 F.3d 289, 294 (4th Cir. 2010). In order to carry this burden, a plaintiff

    must establish "both that the [employer's] reason was false and that [retaliation] was the real

    reason for the challenged conduct." Jiminez v. Mary Washington Coll., 57 F.3d 369, 378 (4th

    Cir.1995) (quoting St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502,515 (1993)).

           Where an employer has proffered a legitimate, non-retaliatory reason required at step

    two of McDonnell Douglas, the court may skip the prima facie case and move directly to the

    question of retaliation vel non, i.e., the question of whether retaliatory animus motivated the

    adverse action. See, e.g., U.S. Postal Serv. Bd. of Governors v. Aikens, 460 U.S. 711,715 (1983)

     (holding that once the employer "responds to the plaintiffs proof by offering evidence of the

    reason for the plaintiffs rejection," whether or not the plaintiff made out a prima facie case

    "is no longer relevant"); see also Glasgow v. United States Dep't of Def., No. 18-CV-136

    (CRC), 2018 WL 5886654, at *3 (D.D.C. Nov. 9, 2018) (holding that where defendant

    identifies a "legitimate, nondiscriminatory reason" for the challenged action, district courts

    may skip the prima facie question at step one and instead answer "one central question: Has

    the employee produced sufficient evidence for a reasonable jury to find that the employer's

    asserted non-[retaliatory] reason was not the actual reason ... ");Avant v. S. Maryland Hosp.,

    Inc., No. GJH-13-02989, 2015 WL 435011, at *7 (D. Md. Feb. 2, 2015) ("[I]t is becoming 'a

    common practice of the Fourth Circuit to assume, without deciding, that the plaintiff has

    established a prima facie case in cases where the employer has proffered evidence of a

    legitimate reason for its adverse action in its motion for summary judgment."' (citation

    omitted)).


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                                                        E.

           In the instant case, because the defendants articulated non-retaliatory reasons for

    abolishing the CFO position, the court need not indulge or address disputes as to whether

    Carmack met his burden in establishing a prima facie case. See, e.g., Riser v. Target Corp., 458

    F.3d 817, 820-21 (8th Cir. 2006) (citing Aikens, 460 U.S. at 715). The court will proceed

    directly to the second stage of the McDonnell Douglas analysis, wherein the question becomes

    whether the defendants have satisfied their burden of production vis-a-vis the non-retaliatory

    justification referenced above and discussed at length below.

           The defendants have amassed and adduced substantial and specific record evidence,

    including numerous exhibits containing extensive correspondence, supporting their

    contention that Carmack's CFO position was eliminated as part of a "long-term solution that

    would meet Governor Terry McAuliffe's budget mandate" for 2017 and 2018 rather than

    motivated by retaliatory animus tied to either Carmack's "internal warnings and complaints"

    or external OSIG complaint. ECF        o. 64, at 1. They assert that shortly after receiving two

    emails, see ECF No. 64-2 (Ex. 1) & 64-3 (Ex. 2), from Governor McAuliffe's office, Matlock

    began to research available budget savings options.

           The memoranda contained in the aforementioned emails instructed all state agency

    heads to "prepare savings strategies for FY 2017 equal to equal to five (5) percent of ...

    adjusted legislative general fund appropriation" and, while granting agency heads broad

    discretion to devise budget savings strategies, stressed the importance of "recurring savings

    rather than one-time savings," and        indicated that agencies should anticipate another

    "projected revenue shortfall for FY 2018," ECF. 64-3, at 1 (Ex. 2). The memoranda further


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    advised agency heads to "focus on strategies that call for the modification or elimination of

    existing responsibilities that ... are not mission critical for your agency," ECF No. 64-2, at 4

    (Ex. 1). Considering the emphasis on "recurring savings" and admonition that "saving

    strategies ... should provide ongoing savings in future fiscal years ... to maintain structural

    balance," ECF     o. 64-3 (Ex. 2), Matlock apparently concluded that neither of the original

    savings submissions nor the use of general funds to cover the budget reductions was a viable

    long-term strategy. See ECF      o. 64-1, at 4 (Matlock Decl.); ECF No. 102-6, at 2 (Maul Decl.).

           Instead of drawing on general funds to satisfy the budget reduction mandate or

    executing the original savings plans, Matlock formulated a workforce reorganization plan. This

    plan, which Matlock viewed as a sustainable long-term option that comported with the

    gubernatorial charge to find "recurring savings," was based on the fact that he "observed a

    great deal of responsibility overlap between senior administrators." ECF No. 64-1, at 4-5

    (Matlock Decl.). Matlock concluded that by "streamlining the administrative responsibilities,"

    the Center would become a "more effective and efficient state agency." Id. With respect to

    the CFO position specifically, Matlock stated that "[t]wo immediate things [he] noticed" upon

    his arrival at the Center was Carmack's dependence on Hensley, and the "amount of time he

    was spending doing work for the Foundation." ECF No. 64-1, at 3; see, e.g., ECF No. 64-12,

    at 5 (Ex. 11) (containing email wherein Carmack describes Hensley as the "brains" of our

    operations" and states that "you were better off with her than me!"). Matlock stated that when,

    "I would ask Carmack for financial data from the [Center], he would often ask Hensley to

    prepare the data for him." Id.




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             In order to "streamline redundant and duplicative administrative responsibilities and

    meet the required fiscal accountability requested by Governor McAuliffe," ECF No. 64-1, at

    8, Matlock considered the elimination of several positions through the Workforce Transition

    Act of 1995, Va. Code Ann. § 2.2-3201 (''WTA"), the purpose of which is:

                      to provide a transitional severance benefit, under the conditions
                      specified, to eligible state employees who are involuntarily
                      separated from their employment with the Commonwealth.
                      "Involuntary separation" includes, but is not limited to,
                      terminations and layoffs from employment with the
                      Commonwealth, or being placed on leave without pay-layoff or
                      equivalent status, due to budget reductions, agency
                      reorganizations, workforce down-sizings, or other causes not
                      related to the job performance or misconduct of the employee,
                      but shall not include voluntary resignations.

    Va. Code Ann. § 2.2-3200. The record indicates that at least five positions were considered to

    varying degrees for elimination. Those employees terminated under the WTA were able to

    elect to receive either severance benefits for twelve months after the date of involuntary

    separation, see Va. Code Ann. § 2.2- 3203 (explaining the recurring and lump sum payments

    that comprise the transitional severance benefit), or, in lieu of transitional severance benefits,

    enhanced retirement, wherein the state "purchase[s] on [the employee's] behalf years to be

    credited to either his age or creditable service or a combination of age and creditable service .

    . . ."). Va. Code Ann.§ 2.2-3204; see also ECF                o. 64, at 7 n.1.2 4

             Matlock indicated that he was familiar with the WTA as a "viable method" for

    reorganizing the Center from having used it "multiple times to find recurring savings options"



    24The defendants correctly note that there was no way for Matlock to predict whether affected employees would take the
    severance package (paid for by the Center) or enhanced retirement benefits (covered by VRS). See ECF No. 102, at 21
    n.13. Therefore, the fact that Carmack's decision to take the severance package may have negated some of the savings
    generated from abolishing his position is not especially probative as to pretext.

                                                             43

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    during his twenty-four (24) years working for Virginia Highlands Community College. ECF

    64-1, at 5. Those employees initially included in and potentially affected by Matlock's proposal

    included Joyce Brooks, Douglas Viers, Patricia Ball, Janet Williams, and William Carmack.

    ECF No. 64-1, at 4-6 (Matlock Decl.). The record includes email correspondence indicating

    that Matlock asked Kauffman to provide him with a WTA cost for eliminating positions held

    by Brooks, Viers, and Carmack. ECF No. 64-4, at 2-3 (Ex. 3); ECF No. 64-5, at 2-3 (Ex. 4).

    Importantly, even if the court were to discredit Matlock's claims that he "first envisioned"

    using the WTA to eliminate the CFO position after receiving the September 27, 2016

    memorandum, there is clear record evidence that Matlock identified the CFO position as early

    as   ovember 2016.

           Matlock consistently affirmed and reaffumed that the budget reduction mandate

    prompted the WTA process, and that with the leasing of the Energy Center (to Dr. McGarry),

    "a declining portfolio of research grants," and a shift to separate the Foundation from the

    Center, he concluded that "Carmack's workload would decrease significantly with no

    corresponding decrease in salary." ECF      o. 64-1, at 9 (Matlock Decl.); ECF No. 100-1, at 36

    (Matlock 2d Depo.) (stating that once a tenant was found "that responsibility, which was in

    Mr. Carmack's job description, totally went away"); ECF No. 100-8, at 7 (Brooks Depo.) ("I

    know [Matlock] made us aware there was going to be a budget reduction"); ECF No. 100-7,

    at 5 (Williams Depo.) (suggesting that Matlock asked Williams if she wanted to retire due to

    budget reductions). Indeed, the record is replete with documents and testimony consistent

    with Matlock's proffered justifications for abolishing the CFO position. See, e.g., ECF Nos.

    64-20, at 4 (Ex. 19); 64-22 (Ex. 21), at 2; 64-47, at 12 (Maul Decl.); 64-25, at 3 (Ex. 24); 64-41,


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    at 3 (Ex. 39). Matlock further concluded, and repeatedly stated in proposal-related materials

    that predated his learning of the OSIG complaint and many of the "internal warnings and

    complaints," that day- to-day operations, including "advanced fiscal bookkeeping, accounting,

    budgeting, and managing accounts receivable," could be managed by Hensley at a significantly

    lower salary than what the CFO was being paid. ECF No. 72-33, at 3.

             Rigdon, who reviewed the employee work proftles for both Carmack and H ensley,

    concurred with Matlock's conclusion that Hensley could absorb more of the CFO's duties.25

    ECF No. 64-48, at 2 (Rigdon Decl.). Matlock further noted that the Center had operated

    without a CFO from 1992 until 2012, and that Hensley already provided "a great deal of the

     [Center's] leadership pertaining to budget oversight, procurement, [etc.] . .. all of which were

    in Carmack's job description." ECF 64-1 , at 9 (Matlock Decl.). In short, the defendants have

    articulated legitimate, non-retaliatory reasons for eliminating Carmack's CFO position and

    produced substantial, competent evidence indicating that eliminating the CFO position (and

     two others), was part of a considered reorganization proposal conceived of as early as

     November 2016, prior to all of the alleged internal warnings and complaints, except those

    related to pre-selection 26 , and at least eleven (11) months before Matlock first became aware




    25 Carmack claims that his job description was not accurate at the time his employment was terminated and that his duties
    differed form the description. See ECF No. 72-39, at 3 (Carmack Dec!.). Minimal evidence was offered to support this
    claim.
    26 Carmack claims that in J anuary 2016, see 72-1, at 123 (Carmack Depo.), he "complained to Matlock that he violated

    policy by pre-selecting Tolbert," E CF No. 72, at 13. Carmack claims that he "went to Matlock and said, pre-selection at
    UVA is an issue ... you need to follow policies and procedures that are outlined; you can't just put someone in that job."
    ECF o. 72-1, at 123-24 (Carmack Depo.). There is no evidence that Matlock responded with meaningful hostility to this
    statement or any statement in September 2016 related to alleged pre-selection of Mitchell.

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    of the external OSIG complaint, which Carmack repeatedly characterizes as the primary

    inflection point in his relationship with Matlock.27

            Workforce reductions and/ or reorganizations resulting from budgetary constraints are

    well-recognized legitimate, non-retaliatory justifications for eliminating positions. See, e.g.,

    Atkinson v. Food Lion, LLC, 433 F. Supp. 2d 628, 634-35 (M.D.N.C. 2005), affd, 173 F.

    App'x 248 (4th Cir. 2006) (finding that the employer's proffered reason for the plaintiffs

    termination, that the plaintiffs department was eliminated as part of cost-cutting efforts, was

    a legitimate business reason);          eal v. Green Ford, LLC, No. 1:17-CV-569, 2018 WL 6003547,

    at *5-6 (M.D. .C. Nov. 15, 2018), affd, No. 18-2400, 2019 WL 1513513 (4th Cir. Apr. 8,

    2019) (same); Bennett v. Charles Cty. Pub. Sch.,                 o. AW-04-1501, 2006 WL 4738662, at *3

    (holding that "[b]y averring that its wastewater plants were reaching the end of their useful life

    expectancies, and that it made business sense to eliminate some plants, replace others with

    modern facilities, and retain an independent contractor to oversee the plants that remained,

    [d]efendant has met its burden of stating a legitimate, nondiscriminatory reason for its

    employment decision"); Cooper v. Dall. Police Ass'n, 278 Fed. Appx. 318, 320 (5th Cir. 2008)

    (cost cuts were as a legitimate, nonretaliatory reason for the adverse employment action);

    Fierros v. Tex. Dep't of Health, 247 Fed. Appx. 478, 479 (5th Cir. 2007) (a budget shortfall

    satisfied the defendant's burden of presenting a legitimate nondiscriminatory reason for the

    adverse employment action).




    27 The court would note that Carmack's own deposition suggests his belief that it was the OSIG complaint, rather than
    his "internal warnings and complaints," which resulted in his termination. See ECF No. 72-1, at 245 (Carmack Depo.) ("I
    tell people I left the Center because I was fired for a whistle blowing violation. I complained to OSIG and (Matlock]
    terminated my employment.").

                                                              46

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           The court views the record as presenting ample evidence substantiating the defendants'

    position that the elimination of the CFO position was in response to the budget mandate and

    was substantially justified from the perspective of Matlock, the Center's Executive Committee,

    and Rigdon from DHRM. The record also demonstrates that Matlock relied on and received

    significant guidance from DPB, DHRM, and UVA throughout the process. Considering the

    specific evidence marshalled by the defendants, the court concludes that they have met their

    second-stage burden to "produc[e] evidence that the plaintiff was [terminated] for a legitimate,

    nondiscriminatory reason." Reeves, 530 U.S. at 142.

                                                        F.

           Where, as in this case, an employer meets its second-stage burden, the burden then

    shifts back to the plaintiff to come forward with evidence rebutting the employer's evidence

    and generating genuine issues of material fact as to whether the employer's preferred reasons

    were pretextual. See Laing v. Fed. Exp. Corp., 703 F.3d 713, 721 (4th Cir. 2013); Karpel v.

    Inova Health Sys. Servs., 134 F.3d 1222, 1228 (4th Cir. 1998) (citing Ross v. Communications

    Satellite Corp., 729 F.2d 355, 365 (4th Cir. 1985)). This showing generally requires the plaintiff

    to point to admissible record evidence that the defendants' stated justification is "dishonest or

    not the real reason for [his] termination[.]" Laing, 703 F.3d at 722 (quoting Hawkins v.

    PepsiCo, Inc., 203 F.3d 274, 280 (4th Cir. 2000)). This evidence may include evidence that the

    employer's explanation is unworthy of credence or that it is more likely that a retaliatory reason

    motivated the employer's actions. Pfeifer v. Lever Bros. Co., 693 F.Supp. 358, 365

    (D.Md.1987), affd, 850 F.2d 689 (4th Cir. 1988); see Dennis v. Columbia Colleton Med. Ctr.,

    290 F.3d 639, 647 (4th Cir. 2002) (noting that the plaintiff may show pretext by, among other


                                                   47

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    methods, demonstrating that the asserted justifications, even if true, are post hoc

    rationalizations invented for purposes of litigation); see also Mohammed v. Cent. Driving Mini

    Storage, Inc., 128 F. Supp. 3d 932,947 (E.D. Va. 2015) (holding that a plaintiff may also prove

    pretext "by demonstrating weaknesses, implausibilities, inconsistencies, or contradictions in

    the employer's proffered legitimate, nonretaliatory reasons for its action").

              Crucially, federal courts do not serve to second-guess workplace decisions. Thus, a

    claim of retaliation cannot be based on mere disagreement with an adverse employment

    decision. In DeJarnette v. Corning, Inc., 133 F.3d 293 (4th Cir. 1998), the Fourth Circuit

    stated:

                    [T]his Court does not sit as a kind of super-personnel department
                    weighing the prudence of employment decisions ... [o]ur sole
                    concern is whether the reason for which the defendant
                    discharged the plaintiff was [retaliatory]. Thus, when an employer
                    articulates a reason for discharging the plaintiff not forbidden by
                    law, it is not our province to decide whether the reason was wise,
                    fair, or even correct, ultimately, so long as it truly was the reason
                    for the plaintiffs termination.

    Id. at 299 (internal quotation mark and citations omitted). For an employer's proffered non-

    retaliatory justifications to be considered honestly held, the employer must be able to establish

    its reasonable reliance on the particularized facts that were before it at the time the decision

    was made. See Murphy v. Ohio State Univ., 549 F. App'x 315, 322 (6th Cir. 2013). "The

    employer's decision-making process need not be optimal, or leave no stone unturned; rather,

    the key inquiry is whether the employer made a reasonably informed and considered decision

    before taking an adverse employment action." Id.

              If the employee proves the employer failed to do so, the employer's decision-making

    process is "unworthy of credence ... [and] any reliance placed by the employer in such a

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    process cannot be said to be honestly held." Id.; see Anderson v. Stauffer Chern. Co., 965 F.2d

    397, 403 (7th Cir. 1992) ("The fact that an employee does some things well does not mean

    that any reason given for his firing is ... pretext[ual] .... Unless he attacks the specific reasons

    given for a termination, a plaintiff who stresses evidence of satisfactory performance is simply

    challenging the wisdom of the employer's decision, which we have consistently refused to

    review."); Fitzpatrick v.   ew York Cornell Hosp.,          o. 00 CIV. 8594 LAP, 2003 WL 102853,

    at *6 (S.D.N.Y. Jan. 9, 2003) (noting Second Circuit's reminder to "district courts that they do

    not have a 'roving commission to review business judgments' and that they 'must refrain from

    intruding into an employer's policy apparatus or second-guessing a business's decision-making

    process"').

                                                          IV.

           Carmack argues that Matlock's story has "more holes than swiss cheese," ECF No.

    100, at 1, and that the process by which his position was eliminated contained discrepancies

    sufficient to raise a triable, genuine issue of material fact as to its legitimacy. See id. at 10

    ("Matlock complied zero of the steps that were requested by the Governor's memoranda-

    because he was not eliminating Carmack because of the memoranda ... "). The court will

    briefly summarize and subsequently assess each of Carmack's arguments roughly in the order

    in which they were presented in his opposition briefing. Notably, while Carmack is critical of

    the WTA process, he offers little by way of argument or evidence rebutting the underlying

    justifications for including the CFO position as part of the WTA process in the first place,

    namely that others could assume his diminishing and duplicative responsibilities.

                                                          A.


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             Carmack first asserts that because the September 20, 2016 memoranda specifically

    "exclude[es] Institutions of Higher Education," "obviously," the five (5) percent mandate "did

    not apply to the Southwest Virginia Higher Education Center." ECF No. 72, at 12. Carmack

    notes that "tellingly," other Higher E ducation Centers subject to the same alleged budget

    reduction did not eliminate their CFOs. See ECF                       o. 72-42, at 1-2 (Ex. 42). Carmack's ipse

    dixit as to the applicability of the budget mandate is contradicted by sworn statements from

    employees of DHRM and DPB indicating that the mandate unquestionably applied to the

    Center, see, e.g., ECF No. 102-6, at 4 (Maul2d Decl.) ("The 5% budget reduction for FY 2017

    and FY 2018 absolutely applied to the Center, which is not considered an institution of higher

    education for budgeting purposes.").28 Curiously, Carmack's own conduct and testimony also

    indicate that he himself believed the mandate applied to the Center and actively participated

    in formulating a plan that was responsive to the mandate, ECF No. 72-1, at 211-212 (Carmack

    Depo.); see ECF          o. 100-2, at 5-9 (indicating that Carmack believed that the budget reduction

    mandate applied to the Center and, in fact, himself prepared a "budget reduction spreadsheet"

    to submit to DPB in response to the August, 26, 2016 email).

             Carmack has presented no evidence, besides his own post-hoc interpretation of the

    2016 memoranda, indicating that Matlock's embrace of the five (5) percent mandate was

    insincere or pretextual. To the contrary, Carmack's own apparent interpretation of the

    mandate as applying to the Center is strikingly incompatible with his (1) repeated assertion


    28The defendants note tha t although the budget reduction mandate excluded "Institutions of Higher Education," the
    Center is not such an institution as defined by Va. Code Ann. § 23.1 -100 (defining an institution of higher education as an
    "associate-degree granting" or "baccalaureate public institution of higher education in the Commonwealth"). ot only
    does Subtitle IV of Title 23.1 of the Code of Virginia not classify the Center as an " Institution of Higher E ducation," see
    Va. Code Ann. § 23.1-1300-2913, but the authority creating the Center, Va. Code Ann. § 23 .1-3125, does not permit it to
    grant associate, bachelor, or advanced degrees.


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    throughout this litigation that the mandate did not apply to, see ECF No. 72, at 11, and / or

    "expressly excluded," ECF No. 100, at 2 n.3, the Center and (2) concomitant insinuation that

    Matlock's belief that it did was disingenuous or otherwise held in bad faith. See Tomasello v.

    Fairfax Cty.,   o. 1:15-cv-95, 2016 U.S. Dist. LEXIS 5578, at *39 (E.D . Va. Jan. 13, 2016)

    ("[I]n the Fourth Circuit . . . plaintiff must present evidence reasonably calling into question

    the honesty of the employer's belief."). Given that all of those advising Matlock, including

    Carmack, apparently believed the mandate applied to the Center, and in light of the complete

    absence of evidence suggesting Matlock knew otherwise, there is simply no reason to conclude

    that Matlock's belief in its applicability to Center was pretextual. See id. (stating that "an

    employer's proffered legitimate basis for an employment action is considered honestly held if

    the employer can establish its reasonable reliance on the particularized facts that were before

    it at the time the decision was made").

                                                        B.

           Carmack next argues that despite Matlock's reliance on the budget mandate to justify

    the elimination of the CFO position, the Center never experienced a "budget shortfall." ECF

      o. 72, at 15. Carmack notes, inter alia, that "mere weeks" after Matlock terminated Carmack,

    Matlock wrote a letter to SAAG Griffin stating "[a]ll major key performance indicators reflect

    an increase in Center activity and income since my arrival." ECF No. 72-7, at 100-101 (Matlock

    Depo.). Carmack also points to other documents in the record suggesting that the Center was

     financially strong at the time Matlock decided to abolish the CFO position, including

     testimony where Matlock conceded that he told the Board of Trustees in a December 2017

    meeting that the "overall financial strength of the Center was at an all time high." ECF No.


                                                   51

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    72-7, at 208 (Matlock Depo.). The defendants correctly note that Carmack's argument is a red

    herring, as they have never maintained that a budget shortfall within the Center itself justified

    the WTA proposal; rather it was "the statewide budget reduction mandate from Governor

    McAuliffe that precipitated Matlock's decision to go forward with the WTA." ECF No. 74, at

    16.

           Moreover, although Matlock apparently could have opted to use general funds to

    satisfy the budget mandate or rely on the original savings submissions, it was his prerogative,

    as Executive Director, to pursue a "recurring savings option" instead by eliminating positions

    in accordance with the mandate's emphasis on recurring, rather than one-time, savings. ECF

    No. 74, at 16.      either Carmack's persistent misinterpretation of Matlock's rationale for

    eliminating the CFO position nor his disagreement with Matlock's approach to reducing the

    budget by five (5) percent casts doubt on the credence of the Matlock's proffered justifications.

    Carmack may disagree with the decision to terminate his position, or with the reasoning behind

    it, but that alone is insufficient to raise a triable question of unlawful retaliation. It is not the

    province of the court to second-guess managerial decision-making or business judgments of

    this sort absent evidence of retaliatory motive. See McCain v. Waste Mgmt., Inc., 115 F. Supp.

    2d 568, 574 (D. Md. 2000) ("The federal courts do not serve to second guess workplace

    decisions; thus, the claim cannot be based on mere disagreement with the employment

    decision . .. [p]lain tiff must come forward with admissible evidence that is more than self-

    serving opinions or speculation."); see also Henson v. Liggett Grp., Inc., 61 F.3d 270, 277 (4th

    Cir. 1995) (''We have recognized the importance of giving an employer the latitude and

    autonomy to make business decisions, including workplace reorganization, as long as the


                                                     52

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    employer does not violate" applicable law."); EEOC v. Clay Printing Co., 955 F.2d 936, 946

    (4th Cit. 1992) ("It is not .. . the function of this court to second guess the wisdom of business

    decisions.").

                                                   c.
           Carmack next argues that following his termination, Matlock hired and promoted

    numerous individuals, "unfroze" positions, and created others without any of those positions

    being offered to him. Specifically, Carmack notes that Matlock hired (1) Hannah Heitala, (2)

    moved Tolbert into human resources, (3) hired an administrative assistant ("Claire," ECF No.

    72-2, at 38) to Kathy Heitala, (4) replaced Melissa Warden, "without the position being offered

    to Carmack," and (5) hired Eli Heitala in     ovember 2017 into a new position. ECF         o. 72,

    at 17 n.18. Carmack asserts, albeit in a conclusory manner, that by failing to place him in any

    of these positions, "Matlock chose not to follow the WTA." Id. at 17. Here, again, Carmack

    flags facts for the court without any bona fide attempt to explain their significance. Carmack

    appears to be asking the court to infer: (1) that because Matlock hired additional employees

    after his termination, there was no need to abolish the CFO position, and (2) that Matlock's

    failure to reemploy him in any of the aforementioned roles, ostensibly in violation of the WTA,

    is indicative of retaliatory animus.

           Carmack's first argument elides the fact that the WTA proposal involved more than

    the mere elimination of positions. Indeed, it expressly provided for and incorporated the cost

    of creating and / or filling additional positions as part of an overall workforce reorganization

    and redistribution of duties. See ECF No. 64-22, at 5 (Ex. 21) (indicating that the existing

    duties / responsibilities of abolished positions will be redistributed to three other employees);


                                                    53

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    see also ECF         o. 64-21, at 6 (Ex. 20) (email from Kauffman to Matlock related to the two

    new positions contemplated by the WTA); see also ECF Nos. 74 & 64-23, at 5 (indicating that

    Hannah Heitala was hired to fill a position explicitly incorporated into the proposal and that

    "her job was [merely] augmented to include more responsibilities" that belonged to Janet

    Williams, see ECF No. 72-7, at 226 (Matlock Depo.)). Further, Matlock's decision to hire new

    employees and/ or to fill other, unrelated positions does not necessarily, or even logically,

    imply that the elimination of the CFO position was unjustified. There is no apparent

    contradiction in Matlock's decision to abolish the CFO position on the one hand, and, to hire,

    inter alia, a marketing director and grant writer on the other. These positions appear to serve

    different functions, and it is entirely possible that the Center could be overstaffed in one area

    and understaffed in another. See ECF No. 100-1, at 21-22 (Matlock 2d Depo.) (explaining the

    decision to unfreeze the marketing position).

             With respect to the hiring of (1) Hannah Heitala (Director of Conference Services), (2)

    Eli Heitala (Manager of Conference Services) 29, and (3) "Claire," an administrative assistant

     for Kathy Heitala, the (4) replacement of Melissa Warden (Tobacco Collections Specialist),

    and (5) advertisement for a Loan Collections Specialist, ECF                      o. 72-17 (Ex. 17), Carmack has

     failed to explain how these employment actions are demonstrative of pretext except to the

    extent that those positions were not offered to him, ostensibly in violation of the WTA.

     Carmack does not, for example, indicate what these positions paid (or attempt to make the




    29 Eli Heitala appears to have been hired into Conference Services following the retirement of another Conference Services

    employee. See ECF o. 72-15, at 5.

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    distinction between wage and classified/ salaried hires) or argue, for example, that by hiring

    new employees, Matlock negated the savings which accrued from implementing the WTA.

            In its prior ruling on the defendants' second motion to dismiss, ECF No. 65, at 26-27,

    this court noted that the Workforce Transition Act of 1995, Va. Code Ann. § 2.2-3201,

    requires that prior to terminating an employee of a state agency, "the management of the

    agency or institution shall make every effort to place the employee in any vacant position

    within the agency for which the employee is qualified." Id.; see Va. Code Ann.§ 2.2-3201(A).

    Carmack suggests that by failing to offer any of the aforementioned positions to him, Matlock

    violated the express terms of the WTA, from which Carmack then presumably expects the

    court to infer retaliatory animus. ECF No. 72, at 17-18. Crucially, the WTA only requires an

    employer to place the employee in "vacant" positions within the agency for which the

    employee is "qualified." The record indicates that the Tobacco Collections Specialist and Loan

    Collections Specialist positions did not become vacant and / or were not advertised until

     sometime in late 2018, see ECF No. 72-2, at 39-41 (Young Decl.), and October/November

    2018, see ECF No. 72, at 17 n.18, respectively. In other words, these positions did not become

     "vacant" until after Carmack's termination in January 2018.

            Furthermore, although state policy dictates that those employees terminated pursuant

     to a workforce reduction or reconfiguration are entitled preferential hiring for positions which

    later become vacant (such as the Tobacco and Loan Collection Specialist positions), this

     entitlement only applies to those positions "that are in the same [r]ole as their former positionO

     and for which they are minimally qualified." ECF        o. 64-34, at 22. Carmack does not allege

     or argue that either of the aforementioned positions (i.e., the Specialist positions) would qualify


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    as providing for him with the "same [r]ole" as the CFO position.30 Nor is there any evidence

    that Carmack applied for these positions.

             With respect to those remaining positions identified,3 1 some of which appear to have

    been vacant and/ or were filled while Matlock was considering abolishing the CFO position,

    Carmack does not argue or provide evidence that he is "qualified," per the terms of the WTA,

    for these positions. 32 Indeed, Merriam Webster defines "qualified" as "fitted (as by training or

    experience) for a given purpose." Merriam Webster's Collegiate Dictionary 955 (10th ed.

    199 5). Carmack provides no basis for concluding that he "qualified," either by training or

    experience, for any of the positions he alleges Matlock failed to offer him.33 In fact, during the

    court's May 16, 2019 hearing, counsel for Carmack made a variety of conclusory statements

    that Carmack was "eligible for" or "could have done" many of the positions that were available

    without any explanation as to why this was so. In light of this failUre of proof, the court is

    unable to assess the significance of any decision not to reemploy or reassign Carmack to any

    the aforementioned vacancies.

             The Center also represented in Carmack's layoff letter that "an effort . . . to identify

    valid vacancies within the [Center] for placement, and no positions were identified." ECF No.




    30 The Loan Collections Specialist, for example, offered a maximum salary of $35,000, ECF No. 72-17 (Ex. 17), compared
    to Carmack's salary of$116,807.00, see ECF No. 64-32, at 8 (Ex. 31 ), as CFO. The DHRM's manual defines "[r]ole" as a
    "broad group of positions in a Career Group assigned to a specific (p]ay [b]and that are assigned different levels of work
    at various skill or knowledge levels." ECF No . 64-34, at 22 (Ex. 33). In addition to apparent difference in pay band between
    these positions, Carmack does not provide any evidence suggesting that these positions fall within the same "Career
    Group."
    3 I Director of Conference Services (Hannah Heitala), administrative assistant position ("Claire"), and Manager of
    Conference Services, see ECF No. 72-1, at 234 (Carmack Depo.), (Eli Heitala) .
    32 The defendants note that E li Heitala's position, which involved setting up tables for events and performing other routine
    cleaning, paid $24,000. ECF No. 74, at 22.
    33 DHRM's manual defines "minimally qualified" as possessing the "necessary knowledge, skills, abilities" and "other bona

    fide job requirements as outlined in the E mployee Work Profile .... " ECF No. 64-34, at 21. Carmack does provide any
    argument as to his qualifications for these positions that rise above vague self-assessments.

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    64-34, at 2. While the court does not assume the veracity of this representation, the facial

    dissimilarity between the positions described above and the CFO position previously held by

    Carmack buttresses the commonsense appeal of the defendant's contention that Carmack

    cannot create a triable issue of fact "by complaining that he was not offered a position [as]

    administrative assistant when he [was] CFO." ECF         o. 74, at 22.

           Inasmuch as Matlock's failing to offer any of the aforementioned positions to Carmack

    was technically violative of the WTA, there is no basis for concluding that it is indicative of

    retaliatory animus. See Vaughan v. Metrahealth Companies, Inc., 145 F.3d 197, 203 (4th Cit.

    1998) ("The mere fact that an employer failed to follow ... procedures does not necessarily

    suggest that the employer was motivated by illegal discriminatory intent . .. . Federal courts

    cannot ensure that business decisions are always informed or even methodical.") . Carmack has

    provided no evidence contradicting or casting doubt on the defendants' representation that it

    failed to identify "valid vacancies" or showing that Matlock or the Center actually violated the

    applicable policies and procedures by failing to offer him positions for which he has offered

    no evidence or argument that he was qualified.

                                                        D.

           Carmack next cites a variety of facts in blunderbuss fashion that he contends evince

    retaliatory animus and / or indicate that he was the actual and only target of the WTA proposal.

    First, Carmack notes that only he was "kept in the dark" about the WTA proposal. Second,

    Carmack points to Matlock's use of the phrase "pulling the trigger" in an email referring to

    his termination. Third, Carmack cites Young's response, when asked during her deposition

    whether she had spoken with Carmack following his termination, that although she saw him


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    at an event (1) "I was kind of scared to be in contact with him"; (2) "I didn't know about

    retaliation since he was my boss, if my position was in jeopardy"; (3) "I was fearful of losing

    my job if he could lose his job, you know, because I didn't know why he was let go." ECF          o.

    72-2, at 49-50 (Young Depo.). Fourth and finally, Carmack notes that Brooks and Williams

    were both "replaced" and that "Matlock even looked into Brooks and Williams being able to

    return to work if they wanted." Id. at 20.

           With respect to Matlock's use of what Carmack characterizes as a "telling metaphor,"

    i.e., "pulling the trigger," and Young's testimony that she feared losing hei job, ECF No. 72-

    2, at 49-50, neither fact necessarily, or even likely, reflects retaliatory animus. Carmack provides

    no basis for inferring from Matlock's colloquial use of "pullO the trigger" in a single email, see

    ECF No. 72-45, at 1 (Ex. 45) ("I also plan to share with the [E]xecutive [C]ommittee . ..

    before I pull the trigger on [Carmack]"), a retaliatory intent related to his alleged

    whistleblowing. Matlock explained that "pulling the trigger" is a common phrase in his

    vocabulary. ECF No. 72-7, at 147. There is simply no basis for wringing a more insidious

    meaning or purpose from this common figure of speech. Young's statements, as reflected

    above, are plainly speculative and impressionistic, and therefore are of minimal value in a

    pretext analysis.

           Furthermore, while Carmack appears to have been "kept in the dark" about the

    elimination of his position under the WTA, this fact appears to reflect nothing more than

    Matlock's belief that Carmack, and only Carmack, would "react negatively" to the elimination

    of his position. ECF No. 72-7, at 112 (Matlock Depo.). Carmack himself notes that "Matlock

    knew perfectly well that Brooks and Williams wanted to retire and that [he] did not," ECF No.


                                                    58

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    72, at 18. The defendants suggest that it is this very fact that explains why Carmack alone was

    not informed that his position was going to be abolished. That some employees were aware

    their positions would eliminated, although not in strict compliance with the WTA's

    confidentiality requirement, is a thin reed upon which to infer pretext. See ECF No. 64-48

    (Rigdon Decl.) ("I had advised Matlock not to inform individuals that they could potentially

    be impacted by the WTA; confidentiality was a requirement. In my experiences, these kinds

    of issues are not unusual and do not automatically invalidate a WTA plan."); see also ECF No.

    72-49, at 1 (email suggesting that Matlock was unaware that asking for volunteers violated

    stated policy).

           When asked whether an employee typically has advance notice that their position is

    going to be eliminated through the WTA, Fields explained that at VHCC, the president, when

    faced with budget cuts, would "askO anyone that might be interested in retirement ... to talk

    directly to their supervisors." ECF No. 72-4, at 77. Fields further explained that some

    employees would inform their supervisors that "if you need me to retire, I'll consider that."

    Id. at 78. In other words, "[s]ome ... employees that had come forward knew that they were

    potential [sic], so they weren't surprised when we had individual meetings with them, and some

    did not know." Id. at 79; see ECF No. 72-5, at 42 (Brooks Depo.) (indicating that Matlock

    received conflicting advice from UVA and / or DHRM about the need for confidentiality, i.e.,

    whether to inform individuals potentially affected); accord Dixon v. Pulaski Cty. Special Sch.

    Dist., 578 F.3d 862 (8th Cir. 2009) (holding that an employer's failure to follow procedures

    may be evidence of pretext, but it is not always enough to create a triable question of fact on

    the issue at the summary judgment stage; this is especially the case where the procedural


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    violation was in accordance with long-standing practice); Downing v. Tapella, 729 F. Supp. 2d

    88, 97-98 (D.D.C. 2010) (noting that a violation of human resources protocol does not create

    a per se inference of a Title VII violation unless the violation itself constituted a suspicious

    act).

            Carmack also appears to assert that although the WTA proposal purportedly abolished

    three positions, in actuality, his position was the only one eliminated because Hannah Heitala

    replaced Janet Williams and Tolbert replaced Joyce Brooks. The WTA proposal, however,

    specifically contemplates that Hensley would "replace" Carmack in the sense that she will

    assume many of his responsibilities. See ECF No. 74-4, at 21 (Ex. 8). Indeed, the net yearly

    savings calculation contained in the proposal accounts for the cost of increasing Hensley's

    salary by $8,201, presumably to compensate her for assuming additional duties. Id. This salary

    increase was subtracted from the estimated savings of abolishing the Carmack's position,

    $162,477, resulting in a net savings to $154,276. Id. This same formula was applied to the other

    two other positions "abolished" by the WTA, wherein the responsibilities of higher pay band

    positions abolished by the proposal are redistributed to lower pay band employees (some of

    whom received raises which appear to be incorporated into the net savings calculations). Id.

    at 21-22.

            Finally, Carmack attempts to establish that Matlock treated Williams and Brooks more

    favorably by "look[ing] into Brooks and Williams being able to return to work if they wanted

    to .... "See ECF No. 72, at 20. This particular allegation relies on a May 15, 2017 email from

    Kauffman to Joseph Esposito, a human resources manager at UVA, in which she states, "[o]ne

    or two of the retirees may be returning to work." ECF No. 72-48, at 1. Carmack speculates


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    that this email referred to Brooks and Williams but not to him. Matlock explained, however,

    that this inquiry related to the potential return of all three employees, "if their services were

    needed in something specialized." See ECF No. 72-7, at 134 (Matlock Depo.). Carmack's

    attempt to interpolate his exclusion into a vaguely worded email which does not mention any

    specific employee by name, and associated argument that this imagined exclusion is evidence

    of pretext, is entirely speculative.

                                                   E.

           Carmack next argues that the defendants "make much to-do[sic] about getting the

    proper approval[s]" throughout the WTA process. ECF No. 72, at 22. Specifically, Carmack

    asserts that (1) the OSIG never approved Matlock's termination of Carmack, ECF No. 72, at

    22, and that (2) the DHRM did not approve the WTA plan until six (6) months after Carmack's

    position was abolished, id. at 21. These arguments misconstrue the defendants' claims and the

    record. First, the record does not indicate that the defendants ever claimed that they received

    the "blessing of the OSIG to fire Carmack" or that the OSIG approved Carmack's

    termination. ECF No 72, at 22. The defendants simply provided evidence that Matlock (1)

    informed OSIG investigator Sadler that he was in the midst of eliminating several positions

    due to mandatory budget reductions, (2) stated that one of those positions was the CFO

    position held by Carmack (the Hotline complainant), and (3) asked Sadler whether he should

    "stop the WTA process until the investigation was over," ECF        o. 72-7, at 118-19 (Matlock

    Depo.). The defendants then noted that Sadler did not investigate the WTA process further.

    See ECF No. 64, at 16. In short, the defendants' claims stop substantially short of asserting




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    that the OSIG "bless[ed]" Carmack's termination. See ECF           o. 64-49, at 2 (Sadler Decl.);

    ECF    o. 72-7, at 119 (Matlock Depo.).

           Carmack also selectively excerpts and truncates part of Matlock's testimony in an

    attempt to show that Sadler and Matlock contradicted each other as to what was said when

    Sadler called Matlock on October 16, 2017. ECF       o. 72, at 22. Specifically, Carmack excerpts

    a statement where Matlock, in response to a question about whether he told the OSIG

    investigator that he was "firing or had fired Carmack," Matlock says "No," ECF No. 72-7, at

    118). This quote omits the next line of Matlock's testimony, which clearly indicates that

    Matlock's answer, "No," related to counsel's characterization of Carmack's termination as a

    "firing," and not to the question of whether he informed Sadler that Carmack was included in

    the WTA proposal. This question is answered unequivocally in the affirmative by Matlock in

    a follow-up question:

                  Q : Was Mr. Carmack's name mentioned by you?
                  A: I mentioned everybody involved in the WTA process.
                  Q : Including Duffy Carmack?
                  A: Yes, of which Mr. Sadler said -- he asked for my timeline, and
                  then he said, "Continue with your WTA." He would not disclose
                  who had made the call.


    ECF No. 72-7, at 119 (Matlock Depo.). When reviewed in full, Matlock's testimony is entirely

    consistent with his own declaration and Sadler's declaration. Lastly, Carmack's argument

    regarding when DHRM finally approved the WTA proposal, see ECF No. 72, at 21, is

    immaterial. The record clearly indicates that DHRM reviewed Matlock's WTA proposal at

    multiple points in the process and concluded that it was "sufficiently justified" despite the fact




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    that it abolished the position of an employee DHRM knew had an outstanding complaint with

    the OSIG. ECF      o. 64-48, at 2-3 (Rigdon Decl.).

                                                  F.

           Carmack next argues that the WTA did not save the Center money, but "what was

    saved, or so Matlock thought, was the [Center] from getting sued." ECF            o. 72, at 22.

    Carmack appears to be arguing that because the WTA proposal did not save the Center money,

    it is reasonable to infer that Matlock's budget reduction rationale for eliminating Carmack's

    position was pretextual. Specifically, Carmack argues that the retirement benefits for Brooks

    and Williams were costly to the Center. The defendants, however, provided undisputed

    evidence that by receiving approval from DHRM and DPB, those costs were not borne by

    tl1e Center, but absorbed by the VRS. Indeed, the record shows that Matlock and Kauffman

    spent a considerable amount of time crafting the WTA exemption request and coordinating

    its production with DHRM so that these retirement costs were not incurred by the Center.

           In his supplemental opposition, ECF No. 100, Carmack argues in the alternative that

    because Matlock's plan proposed that the VRS absorb any enhanced retirement costs

    associated with implementing the WTA reorganization, it plainly ran afoul of language in the

    mandate proscribing the Center from reducing its budget by shifting expenses to another

    agency, namely, the VRS. Specifically, Carmack asserts that "both memoranda had the same

    goal: save state funds," and therefore a "critical part of getting approval by ilie Governor was

    that the savings plan did not shift expenses to another agency." Id. at 5. Carmack speculates

    that the reason Matlock never proposed eliminating the CPO position to the Governor's office

    in response to the mandate was because Matlock knew it would not have been approved. Id.


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           Carmack is correct that the budget reduction memoranda explicitly prohibited budget

    reduction strategies that "simply pass[ed] on additional costs to another state agency .. . ."

    ECF    o. 64-2, at 4 (Ex. 1). However, as Michael Maul noted, "the WTA proposal that Matlock

    proposed and implemented does not conflict with the Governor's instruction that savings

    plans may not pass on additional costs to another agency." ECF No. 102-6, at 3 (Maul 2d

    Decl.). Maul explained that:

                  Using the WTA with VRS absorbing the costs associated with
                  enhanced retirement options does not conflict this prohibition
                  because those costs do not affect VRS' budget. In fact, having
                  VRS absorb these costs has been an available option to state
                  agencies subject to budget cuts since the recession. This policy
                  was authorized in the budget by the General Assembly and
                  Governor to help minimize the costs to state agencies hit with
                  budget reductions ... (p]assing these costs onto the VRS is not
                  at odds with the prohibition against passing costs onto other state
                  agenCles.

    Id. at 3. In other words, from Maul's perspective, Matlock's WTA proposal was a legitimate

    response to the budget mandate and lawfully shifted certain costs while still complying with

    state policy as articulated in the memoranda.

           With respect to Carmack's claim that Matlock did not submit his WTA proposal to

    Governor's office because the proposal "would have" been rejected, ECF No. 100, at 5, Maul

    indicated that he was "not aware of any law or policy that required Matlock to submit the

    WTA proposal to Governor's office because only the approval of the DPB and (DHRM] was

    needed in order for the (VRS] to absorb the costs of the enhanced retirement." ECF No. 102-

    6, at 2 (Maul 2d Decl.). Paul Reagan, Chief of Staff for then-Governor Terry McAuliffe,

    explained that "[w]hat's binding on the agency ultimately is the savings that need to be

    achieved," and that there was minimal oversight to ensure that agencies would "follow the

                                                    64

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    exact procedure that was outlined." ECF No. 100-6, at 55 (Reagan Depo.). Crucially, Reagan

    testified that if an agency wished to make changes to their initial budget savings submission,

    they would "probably" have to resubmit their proposal to the Governor's office or their

    budget manager at DPB. Id.; see ECF     o. 64-2, at 3 (Ex. 1) (advising that "[a]ny questions or

    suggestions about this process, or the subsequent budget decisions that will be made, should

    be directed to the Office of the Secretary of Finance or the Department of Planning and

    Budget"). Reagan identified Michael Maul as the person the Center would consult regarding

    budget reductions and explained that he himself relied "extensively" on Maul's input and

    guidance. ECF    o. 100-6, at 56 (Reagan Depo.).

           Notably, Maul is precisely the person Matlock contacted to discuss the availability of

    the WTA after the initial budget savings plans were submitted. Maul stated that nothing

    prevented Matlock from eliminating positions through the WTA:

                  Unless the General Assembly specifically directs how an agency's
                  budget reductions are to be implemented, it lies within the
                  discretion of the head of that agency to determine how those
                  reductions are implemented. In other words, the budget savings
                  submission the Center submitted for FY 2017 and 2018 were not
                  legally binding as the General Assembly did not delineate the
                  approved budget reductions through language in the budget.

    ECF No. 102-6, at 2 (Maul 2d Decl.). Thus, Matlock's decision to abolish positions through

    the WTA in lieu of the budget savings plans Carmack previously submitted was within

    Matlock's managerial discretion as the scope of his authority was explained to him by Maul.

    In sum, there is no evidence that the implementation component of the original budget savings

    plans for fiscal years 2017 and 2018 were binding on the Center or that Matlock knew the

    WTA was unavailable because those budget savings plans were already submitted and recorded


                                                  65

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    by the Virginia General Assembly. Therefore, Matlock's pursuit of a course of action different

    from that spelled out in the original savings submissions is not particularly relevant to the

    pretext inquiry.

                                                             G.

             Carmack next claims that pay raises provided to Austin Dierks and Hensley were

    omitted from the calculation of alleged savings from the WTA. Id. at 22. Yet, as noted earlier,

    the WTA proposal expressly incorporated pay raises related to the redistribution of Carmack's

    responsibilities to Hensley. Hensley's pay raise of $8,201 was subtracted from the 162,477

    saved from abolishing the CPO position.34 Moreover, in an email exchange titled "Austin

    Dierks Internal Salary Alignment" between Kauffman, Brooks, and Tolbert, Kauffman

    appears to approve keeping his internal salary alignment separate from the WTA proposal. See

    ECF No. 74-4, at 17 (Ex. 7). Matlock explained that this pay raise related to changes in Dierks'

    duties that predated the WTA proposal. ECF                        o. 72-7, at 156 (Matlock Depo.). The

    defendants also correctly note that regardless of the way in which Dierks' pay raise was

    accounted for in the budget, Carmack has provided no basis for concluding that Matlock's

    approach to handling this collateral accounting issue indicates that his justifications for

    abolishing the CPO position were false or unworthy of credence.

             Carmack further argues that the savings calculation associated with eliminating the

    CPO position was "off' because Matlock did not account for the fact that twenty-five (25)

    percent of Carmack's salary came from Foundation rather than Center funds . ECF                             o. 72, at




    34 Carmack also asserts that the Center "quickly increased Hensley's pay above what they said they were going to," ECF
    No. 72, at 22. This contention was not sufficiently explained or supported for the court to consider its materiality.

                                                             66

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    21 . While Matlock acknowledged that it would be "logical" that if twenty-five (25) percent of

    Carmack's salary was paid by the Foundation then the savings to the Center would not be the

    estimated $162,000, he specifically denied that this figure was inflated. ECF    o. 72-7, at 153-

    54 (Matlock Depo.). Moreover, Carmack asserted in his briefing that "at the end of the day,

    all three pools of money [Foundation funds, non-general funds, and general funds] make up

    one pile of money that the Center decides how to spend to support its mission." ECF No. 72,

    at 4. In light of this assertion, Carmack's argument then that the WTA calculation was "ofP'

    because it did not treat Foundation and Center funds as separate pools is at a minimum,

    confusing. Carmack's "one pile" contention perhaps explains why those who calculated and

    reviewed the WTA savings figures overlooked or discounted the distinction between

    Foundation and Center funds .

           In any event, even if the court were to assume, arguendo, that there was some error in

    calculating the savings figures, Carmack again has provided no basis for concluding that

    Matlock's reliance on these calculations specifically or the WTA process generally, both of

    which were reviewed by UVA, DHRM, and DPB, was pretextual. See Mohammed v. Cent.

    Driving Mini Storage, Inc., 128 F. Supp. 3d 932, 946 (E.D. Va. 2015) (holding that pretext '"a

    lie or deceit designed to cover one's tracks,' not merely a business error" (citations omitted));

    Smith v. Print Mach., Inc., No. CV 3:16-2918-JFA-SVH, 2017 WL 5593291, at *4 (D.S.C.

    Mar. 7, 2017), afPd, 696 F. App'x 103 (4th Cir. 2017) ("Even a reasoned decision based on

    incorrect facts is not evidence of pretext."); Pollard v. Rea Magnet Wire Co., 824 f.2d 557,

    559 (7th Cir. 1987) (noting that plaintiff confounded "pretext" with "mistake or irregularity"

    and holding if "you honestly explain the reasons behind your decision, but the decision was


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    ill-informed or ill-considered, your explanation is not a 'pretext"'). In sum, even if the above-

    referenced calculation was "off," there is no basis for construing such a mistake as evidence

    of pretext.

                                                   H.

           Carmack's final argument is that Hensley 1s neither qualified to, nor ever has,

    performed his duties in the past, and therefore Matlock's claim that the CFO position was

    duplicative is false. ECF     o. 72, at 23. In support of this claim, Carmack cites only the

    testimony of Fields, Carmack's predecessor, who agreed with a proposition from counsel that

    ''You [Fields] could do everything she [Hensley] did, but she couldn't do everything you did;

    is that a fair statement?" ECF No. 72-4, at 26 (Fields Depo.). To the extent Fields' opinion

    regarding Hensley's capabilities in relation to her own is relevant in assessing Hensley's ability

    to assume Carmack's responsibilities, the court would note that just prior to the statement

    quoted above, Fields also suggested that there was redundancy between her and Hensley's

    roles, stating, ''We both did the same type of work." Id. In any case, Fields lacks any personal

    knowledge of the allocation of work between Carmack and Hensley and the relative

    capabilities of the latter in relation to the former since she has not worked at the Center since

    2011, see id., at 17.

           Furthermore, Carmack's personal views of Hensley's capabilities are largely beside the

    point, as it is well established that a former employee's subjective self-appraisal is not relevant

    in a pretext analysis. See Smith v. Flax, 618 F.2d 1062, 1067 (4th Cir. 1980) (holding that

    plaintiffs "perception of himself ... is not relevant; it is the perception of the decision maker

    which is relevant"); Mackey v. Shalala, 360 F.3d 463, 469-70 (4th Cir. 2004) (holding that "[a]


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    plaintiffs own self-serving opinions, absent anything more, are insufficient" to establish the

    required causal connection in a retaliation claim). Matlock appears to have believed that

    Hensley, "who has greater seniority than Mr. Carmack (. . . 12 years of continuous state

    service)," ECF    o. 62-22, at 5, was qualified to assume many of the responsibilities of the

    CPO at a much lower cost to the Center. Carmack has not proffered any evidence that this

    belief was disingenuous, or that its underlying assumptions are false. The fact that Carmack

    disagrees with the conclusion of Matlock and others (e.g., Rigdon, the Center's Executive

    Committee) that Hensley could absorb many of the CFO's duties does not prove pretext.

    Carmack has not provided more than a scintilla of evidence rebutting or otherwise disproving

    Matlock's claim that "[w]ith the leasing of the Energy Center, a declining portfolio of research

    grants, and a shift to separate activities of the Center from the Foundation," Carmack's

    "workload would decrease significantly." See ECF No. 64-1, at 9 (Matlock Decl.).

                                                  v.
           Considering the record as a whole, including the parties' arguments, exhibits, and the

    applicable law, Carmack has failed to show, by direct or circumstantial evidence, that Matlock's

    decision to eliminate the CPO position was causally related to his alleged internal warnings

    and complaints or external complaint to the OSIG. While Carmack repeatedly characterized

    Matlock's reasons for abolishing the CPO position as "evolving" and / or "ever-changing,"

    ECF No. 100, at 1-2, contemporaneous documents, deposition testimony, and declarations

    from knowledgeable, neutral third parties indicate that Matlock's rationale for eliminating

    Carmack's position was consistently, albeit not always explicitly (see, e.g., ECF No. 64-4, at 2

    (Ex. 3) (November 2016 email from Kauffman referring to "state budget cuts,"); ECF No.


                                                   69

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    64-20, at 3-4 (referring to "budget reductions enacted in the Appropriations Act"), predicated

    upon the mandate announced in the 2016 memoranda.

           Indeed, a thorough review of the voluminous record shows Matlock's sworn

    statements and testimony during this litigation are consistent with pre-litigation documents

    and with Matlock's representations to others with whom he consulted both within and without

    the Center. Matlock testified at his first deposition that he began seeking guidance about the

    WTA after "receiv[ing] correspondence from the Governor's Office about fiscal year '15, fiscal

    year '16, fiscal year '17, and potentially fiscal year '18 budget reductions." ECF No. 72-7, at

    108 (Matlock Depo.) . In his declaration, Matlock again confirmed that he received two emails

    requesting budget savings plans for fiscal year 2017 and advising that there could be additional

    cuts for fiscal year 2018. ECF No. 64-1, at 4-5 (Matlock Decl.). Finally, Matlock again

    explained in his second deposition that the September 27, 2016 "reminder" email "really

    triggered my conversations, the two together, but that one was the one that made me realize I

    needed to look for a more long-term solution." ECF No. 100-1, at 16-17 (Matlock 2d Decl.).

           The record also shows that the WTA process began in October or November 2016,

    see, e.g, ECF   o. 64-4, at 2 (Ex. 3), approximately eleven (11) months before the earliest date

    (October 16, 2017) on which it is alleged that Matlock became aware that Carmack ftled the

    OSIG complaint. As for the various "internal warnings and complaints" predating the OSIG

    complaint, Carmack has not presented sufficient evidence from which a reasonable jury could

    conclude that they contributed to Matlock's decision to abolish the CPO position. To the

    extent Carmack claims that the WTA process itself contained irregularities, the court is

    unpersuaded that any of these alleged irregularities amount to anything more than "pinprick


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    objections" and/ or minor discrepancies that, rather than casting doubt on the validity of

    Matlock's explanation, merely invite the placement of "routine personnel decisions in judicial

    hands." See Hux v. City of              ews, Va., 451 F.3d 311, 313 (4th Cir. 2006). What is

    more, the record clearly shows that at nearly every stage of the WTA process, Matlock in fact

    sought guidance, as he claimed in his second deposition, from "DPB, DHRM, and UVA HR

    and legal." ECF    o. 100-1, at 24 (Matlock 2d Depo.). Thus, despite allegations that Matlock

    may have foot-faulted in several instances, there is little evidence "reasonably calling into

    question the honesty of [Matlock's] belief' that abolishing the CPO position was permissible

    under state policy and in the best long-term interests of the Center. Tomasello, 2016 WL

    165708, at *11 (citing DeJarnette, 133 F.3d at 299).

           Moreover, the conduct which Carmack asserts to be retaliatory appears to be more the

    product of clashing personalities (a dynamic that preexisted all of the alleged internal

    complaints) rather than acts in retaliation for Carmack's holding Matlock's "feet to the fire

    with respect to . . . compliance issues." ECF No. 72, at 22. Indeed, discovery in this case

    revealed that much of the conduct Carmack interpreted as evincing retaliatory animus was

    explainable without resort to speculative assertions of unlawful retaliation. Carmack, for

    example, claimed that after Matlock became aware of his OSIG complaint, Matlock "blocked"

    his emails to SAAG Griffin such that Carmack was not receiving emails Griffin claimed to

    have sent him. ECF No. 38, at 9. Carmack simply assumed, without any basis, that "Matlock

    cut off my emails to [her], giving her the impression that I was ignoring her." ECF No. 72-1,

    at 201-209 (Carmack Depo.); ECF No. 72-39, at 2 (Carmack Decl.). Carmack insinuates

    elsewhere that Webb, Matlock, and Tolbert, who "[w]orked against me as a group," conspired


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    together to "block" emails to him from Griffin. Id. at 208-209. Tolbert, responding to a "user

    support request" from Carmack, investigated the issue and discovered Griffm's missing emails

    in Carmack's junk mail folder. ECF             o. 74-3, at 2 (Tolbert Decl.).35 Tolbert later discovered

    that Griffin's email address was on a "blocked senders" list, and stated that "[o]nly Carmack,

    or someone he provided his account access credentials," had the capability to add someone to

    that list. Id. at 2-3.

              In sum, absent evidence of pretext, the court will refrain from second-guessing the

    correctness of every decision made by Matlock and those with whom he coordinated and

    implemented the WTA process. See Rowe v. Marley, Co., 233 F.3d 825, 831 (4th Cir. 2000)

    (holding an employer's decision to discharge one employee over another is the type of decision

    this court is reluctant to second guess); Anderson v. Westinghouse Savannah River Co., 406

    F.3d 248, 272 (4th Cir. 2005); Henson, 61 F.3d at 277; DeJarnette, 133 F.3d at 299; Sagar v.

    Oracle Corp., 914 F.Supp.2d 688, 695 (D. Md. 2012) ("It is well established that 'in

    employment ... cases involving a reduction in force, it is not the court's duty to second guess

    the business judgment of defendant's employees and managers' or the manner in which the

    reduction in force is carried out. (citations omitted)); Long v. Forsyth Cty. Dep't of Soc. Servs.,

         o. 1:15CV683, 2016 WL 7496122, at *6 (M.D. .C. Dec. 30, 2016) (holding that "[c]ourts

    should be careful not to engage in a reweighing of an employer's legitimate employment

    considerations").




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     There also seems to be little basis for Carmack's claim that he was "cut off' from communication with DPB. See ECF
    No. 74-1, at 2-3 (Henken Decl.).


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           The elimination of the CFO position was conceived of prior to all of Carmack's alleged

    complaints, except those related to pre-selection, which do not appear in any way to have

    inspired retaliatory animus on the part of Matlock. The WTA proposal position was

    subsequently approved by the Center's Executive Committee. Thereafter, its implementation

    was scrutinized and reviewed by DHR.i\1 and DPB. Carmack largely failed to address or

    demonstrate that the articulated justifications for abolishing the CFO position were unworthy

    of credence. Indeed, many of the arguments made and much of the evidence cited, including

    a chart provided to the court during the May 16, 2019 hearing, reflect mere disagreements with

    Matlock's decision to reduce the budget by abolishing positions rather than making use of the

    Center's surplus funds or standing by the original savings plans. For reasons already stated,

    the wisdom or correctness of Matlock's decision is not the province of the court. Merely

    disagreeing with Matlock's judgment or the way in which he carried out the budget reduction

    is insufficient as a matter of law. The mere fact that there was some temporal overlap between

    conduct that may qualify for protection under the FAWBP A and the WTA process is, in and

    of itself, not demonstrative of pretext. Accordingly, the court GRANTS the defendants'

    motion as to Count I.

                                                  VI.

           In Count II, Carmack brings a claim under 42 U.S.C. § 1983 asserting that for the same

    reasons his termination constituted a violation of the FAWBP A in Count I, it also constituted

    a violation of the First Amendment. The right to free speech guaranteed by the First

    Amendment "includes not only the affirmative right to speak, but also the right to be free

    from retaliation by a public official for the exercise of that right." Suarez Corp. Industries v.


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    McGraw, 202 F.3d 676, 685 (4th Cir. 2000). When public officials engage in retaliatory acts,

    they "place informal restraints on speech 'allow[ing] the government "to produce a result

    which it could not command directly. Such interference with constitutional rights 1s

    impermissible." Id. (quoting Perry v. Sindermann, 408 U.S. 593, 597 (citations omitted)).

           The Fourth Circuit has explained that to establish a First Amendment retaliatory

    discharge or whistleblower claim pursuant to 42 U.S.C. § 1983, a plaintiff must prove three

    elements: (1) "that the expressions which are alleged to have provoked the retaliatory action

    relate to matters of public concern," Huang v. Board of Governors ofUniv. of N.C., 902 F.2d

    1134, 1140 (4th Cir. 1990); (2) "that the alleged retaliatory action deprived him of some

    valuable benefit," id. at 1140; and (3) that there was a causal relationship between the protected

    expression and the retaliatory action. See Wagner v. Wheeler, 13 F.3d 86, 90 (4th Cir. 1993);

    see also Mt. Healthy, 429 U.S. at 287; Givhan v. Western Line Consol. Sch. Dist., 439 U.S.

    410, 416-17 (1979). The court assumes, without deciding, that Carmack's alleged

    whistle blowing activities satisfy the first two elements of the foregoing framework, and focuses

    it attention on the third requirement, that of causation.

           In Wagner v. Wheeler, 13 F.3d 86 (4th Cir. 1993), the Fourth Circuit explained that per

    the Supreme Court's holdings in Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle, 429 U.S.

    274 (1 977), and Givhan v. Western Line Consol. Sch. Dist., 439 U.S. 410 (1979):

                   The initial burden lies with the plaintiff, who must show that his
                   protected expression was a "substantial" or "motivating" factor
                   in the employer's decision to terminate him. If the plaintiff
                   successfully makes that showing, the defendant still may avoid
                   liability if he can show, by a preponderance of the evidence, that
                   the decision to terminate the plaintiff would have been made
                   even in the absence of the protected expression, more simply, the
                   protected speech was not the but for cause of the termination.

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    Id. at 90 (citations omitted); see Gillen v. Huggins, 127 F.3d 1099 (4th Cir. 1997). This "but

    for" causation requirement is "rigorous." Huang v. Bd. of Governors ofUniv. ofN. Carolina,

    902 F.2d 1134, 1140 (4th Cir. 1990). "[I]t is not enough that the protected expression played

    a role or was a motivating factor in the retaliation; claimant must show that 'but for' the

    protected expression the employer would not have taken the alleged retaliatory action." Id.

    The Fourth Circuit in Wagner stated "[t]his causation requirement was the result of the ...

    desire to prevent a government employee from insulating himself from legitimate termination

    simply by engaging in protected speech." Wagner, 13 F.3d at 90; see Eastlake v. City of Cayce,

    7 F.3d 223 (4th Cir. 1993) (stating that "[a]t the outset, the court must determine the reason

    the employee was discharged, because unless his exercise of free speech was the 'but for' cause

    for dismissal, the action must be dismissed") . Nevertheless, because the issue of causation is

    a factual one, it "can be decided on 'summary judgment only in those instances where there

    are no causal facts in dispute."' Dunn v. Millirons, 176 F. Supp. 3d 591, 605 (W.D. Va. 2016),

    affd, 675 F. App'x 314 (4th Cir. 2017).

           Viewing the record in the light most favorable to Carmack, the court concludes that,

    as with and for the same reasons given with respect to Count I, the defendants are entitled to

    summary judgment on Count II. Carmack simply has not presented sufficient evidence for a

    reasonable jury (1) to conclude that his various complaints were a "substantial" or

    "motivating" factor in, let alone a but for cause of, his termination, (2) to discredit the

    underlying justifications for abolishing the CFO position, or (3) to cast doubt on the legitimacy

    of the WTA process. Carmack's somewhat scattershot attempt to discredit the WTA process

    and raise a genuine question of material fact as to whether the non-retaliatory explanations for

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    abolishing the CFO position were pretextual, upon a thorough review of the record, proved

    ultimately unavailing. While raising numerous questions about Matlock's management style

    and the wisdom of some his conduct generally, none of those questions are germane to the

    inquiry of concern to the court or present a genuine issue of material fact sufficient to survive

    summary judgment on Count II. See Wagner, 13 F.3d at 90-91 (evidence indicating that

    reports of regulatory violations "in some way irritated" defendant "caused him to monitor"

    plaintiffs performance more closely is insufficient to carry plaintiffs initial burden under Mt.

    Healthy of establishing that his protected activity was a "substantial" or "motivating" factor

    in his dismissal). Accordingly, the court GRANTS the defendants' motion as to Count II.

                                                                    VI.

             For the foregoing reasons, the defendants' motion for summary judgment, ECF No.

    63, is GRANTED as to the remaining counts. These claims are DISMISSED with

    prejudice.36

             An appropriate Order will be entered this day.

                                                                     E ntered:




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                                                                          hief United States District Judge

    36Counsel for Carmack claims that had they received the 2016 memoranda during the original discovery period, additional
    discovery would have included, "among other things, determining who the authors of the memoranda were, the history
    of the memoranda, including but not limited to discovery of documentary evidence such as emails and meeting minutes
    that reflected development of the policy, precisely who developed and promulgated the 5% budget reduction plan set
    forth in the memoranda, exactly how that policy was to have been implemented, whether the persons . . . who drafted and
    promulgated the policy intended that it result in termination of employees such as Mr. Carmack, whether employees of
    other agencies were terminated as a result of the memoranda, whether the reduction was intended to apply to institutes of
    higher learnillg in the Commonwealth such as the Southwest Virginia Higher Education Center, the nature and extent of
    contacts by Mr. Timberlake, and other matters." ECF No. 100-9, at 2 (Grimes Decl.). The court is unpersuaded that
    additional discovery on any of the specific matters noted above is warranted or would impact the disposition of this
    motion. The only relevant question is whether Matlock reasonably believed that the mandate applied to the Center, and
    on this point, the record could not be clearer.

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